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               APPENDIX OF UNPUBLISHED OPINIONS

A.      CFPB v. Nationwide Biweekly Admin., Inc.,
        2017 WL 3948396 (N.D. Cal. Sept. 8, 2017)

B.      Benjamin v. V.I. Port Auth.,
        684 F. App’x 207 (3d Cir. 2017)
C.      First Telebanc Corp. v. First Union Corp.,
        2007 WL 9702557 (S.D. Fla. Aug. 6, 2007)
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                          A
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                                                                 After the completion of a seven day bench trial, the parties
                                                                 submitted post-trial briefing and proposed findings of fact
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                                                                 and conclusions of law, before returning to present closing
    Only the Westlaw citation is currently available.
     United States District Court, N.D. California.              arguments. 1

            CONSUMER FINANCIAL                                   After carefully considering the sufficiency, weight, and
        PROTECTION BUREAU, Plaintiff,                            credibility of the testimony of the witnesses, their demeanor
                     v.                                          on the stand, the documentary evidence admitted at trial,
           NATIONWIDE BIWEEKLY                                   and the post-trial submissions of the parties, the Court finds
     ADMINISTRATION, INC., et al., Defendants.                   that CFPB has adequately shown that some, but not all, of
                                                                 defendants' challenged marketing statements were false or
                  Case No. 15-cv-02106-RS                        misleading. For reasons explained below, the Court finds that
                              |                                  CFPB has not met its burden to show that the restitutionary
                    Signed 09/08/2017                            relief it proposes is warranted, but a civil penalty will be
                                                                 imposed, as well as injunctive relief. The parties will be
Attorneys and Law Firms                                          directed to meet and confer to present a proposal or proposals
                                                                 as to the exact terms of the injunctive relief. Defendants in
Jonathan S. Urban, Marisa-Lyn Menna, Stephen Jacques,
                                                                 turn, failed to meet their burden to establish the validity of
Office of Enforcement, Adrienne Warrell, Edward S. Keefe,
                                                                 their counterclaims. This Opinion and Order comprises the
Patrick B. Gushue, Thomas M. McCray-Worrall, Melanie
                                                                 findings of fact and conclusions of law required by Federal
Hirsch, Consumer Financial Protection Bureau, Washington,
                                                                 Rule of Civil Procedure 52(a).
DC, for Plaintiff.

Allyson Beth Baker, United States Deptartment of Justice,
Washington, DC, Christopher D. Stock, Markovits Stock                                   II. LIABILITY
DeMarco LLC, Cincinnati, OH, Georgia Zoe Schneider,
Ponist Law Group, P.C., San Diego, CA, John David Smith,           A. The “Interest Minimizer” Program
John D. Smith Co., LPA, Springboro, OH, Kimon Manolius,          Defendants are Nationwide Biweekly Administration, Inc.
Samantha D. Wolff, Hanson Bridgett LLP, Sean Eric Ponist,        (“Nationwide”), its wholly-owned subsidiary Loan Payment
Ponist Law Group, P.C., San Francisco, CA, Lisa Ann              Administration (“LPA”), and Daniel Lipsky, the founder,
Messner, Helen Mac Murray, Mac Murray Shuster, LLP, New          president, sole officer, and sole owner of Nationwide.
Albany, OH, for Defendants.                                      LPA functions essentially as a second name under which
                                                                 Nationwide markets its services.


                 OPINION AND ORDER                               The subject of this action, which formed the core of
                                                                 defendants' business, is a financial service product known
RICHARD SEEBORG, United States District Judge                    as the Interest Minimizer Program (“the IM program”). A
                                                                 customer who signs up for the IM program, in its most
                                                                 typical form, agrees that every two weeks Nationwide will
                    I. INTRODUCTION
                                                                 automatically debit from the customer’s bank account an
 *1 This is a civil enforcement action brought by the            amount equal to one-half of the customer’s monthly home
Consumer Financial Protection Bureau (CFPB) against              mortgage payment. Nationwide then forwards the funds to
entities and an individual whom the CFPB contends misled         the customer’s lender on a monthly basis. Because this results
consumers. In defendants' view, the financial services product   in 26 debits per year of an amount equal to one-half of a
they sell provides their customers the chance to save            mortgage payment, the customer effectively makes one extra
thousands and thousands of dollars that they might otherwise     mortgage payment each year (26 half payments = 13 full
pay in mortgage interest. CFPB insists, in contrast, that few,   payments). Apart from an initial set-up fee, discussed below,
if any, consumers will come out ahead financially, given the     these “extra” payments each year are applied by lenders to the
effect of the fees defendants charge. CFPB challenges several    principal of the loan balance, thereby reducing it more quickly
aspects of defendants' marketing as allegedly misleading.        than would be the case if only twelve payments were made


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per year. With the loan principal being paid off more quickly,      what representatives from time to time may or may not
the total interest charges a borrower will pay over the life of     have added to, or omitted from, the scripts. CFPB’s position
the loan are reduced. 2                                             is that the sales presentation included false or misleading
                                                                    statements, and that there were material omissions, even
 *2 Nationwide obtains its customers by first purchasing            where representatives followed the scripts scrupulously.
names and addresses from certain companies that use public
records to compile lists of persons who have recently               The evidence adduced at trial showed that the scripts and
taken out home mortgages, and then sending those persons            mailers were all largely written by Lipsky himself. Lipsky
mailers. At the height of its operations, Nationwide sent out       personally reviewed and approved all or virtually all changes
approximately 300,000 mailers per week, some under the              in language to any of the documents. It was undisputed that
Nationwide name, and some under the LPA name. While there           Lipsky was intimately involved in managing all aspects of the
were 50 to 60 different versions of the mailers used during the     business on a day-to-day basis.
time period relevant to this case, the parties are in agreement
many of the changes from version to version were minor, and
                                                                       B. Legal standards
that the exemplars they put into evidence at trial fairly present
                                                                    CFPB’s complaint sets out four counts. First, CFPB contends
the subjects of dispute.
                                                                    defendants' conduct violates the Consumer Financial
                                                                    Protection Act of 2010, 12 U.S.C. §§ 5531 (“CFPA”), as
The Nationwide mailers generally had two sides (see
                                                                    “abusive.” An act or practice is “abusive” if, among other
Trial Exh. 36), whereas the LPA mailers typically were
                                                                    things, defendants have taken “unreasonable advantage of the
single-sided and conveyed less information about the IM
                                                                    consumer’s lack of understanding of the material risks, costs,
program (see Trial Exh. 57). The mailers were transmitted
                                                                    or conditions” of, the service or product they are selling. See
in window envelopes typically bearing bold, colored,
                                                                    12 U.S.C. § 5531(d)(2)(A).
text such as “Payment Information Enclosed,” “Mortgage
Information Enclosed” (Accelerated Reduction in your
                                                                    At trial, and in most of the briefing over the course of this
Principal Balance), and “Mortgage Payment Information
                                                                    action, CFPB has placed primary emphasis on the second
Enclosed.” See Trial Exhs. 76-81. Ordinarily, the name of
                                                                    count of it complaint, which seeks to impose liability under
the lender would appear on the mailer immediately above the
                                                                    the prong of the CFPA that prohibits “deceptive” practices.
consumer’s name and address, with the result that the lender’s
                                                                    See 12 U.S.C. § 5536(a) (“It shall be unlawful ... to engage
name would be visible through the envelope window. In those
                                                                    in any unfair, deceptive, or abusive act or practice.”). An act
instances, the envelopes also bore a notice that “Nationwide
                                                                    or practice is “deceptive” if: (1) there is a representation,
Biweekly Administration is not affiliated with the lender.”
                                                                    omission, or practice that, (2) is likely to mislead consumers
Defendants' witnesses explained that some states prohibit
                                                                    acting reasonably under the circumstances, and (3) the
using the lender name, and that in those states the envelopes
                                                                    representation, omission, or practice is material. Consumer
did not include the disclaimer.
                                                                    Fin. Prot. Bureau v. Gordon, 819 F.3d 1179, 1192 (9th Cir.
                                                                    2016). To determine whether a representation or practice is
Although the percentage of persons who responded was
                                                                    likely to mislead, courts examine the overall “net impression”
always very small, given the volume of mailers sent out,
                                                                    that it leaves on a reasonable consumer. Id.
Nationwide fielded millions of incoming telephone calls at
its call center. 3 Among those who ultimately enrolled in the        *3 Defendants urge the court not to follow the articulation
IM program, the telephone calls typically would last between        of the standard for deceptiveness set out in Gordon, which
30 minutes and one hour. During the calls, Nationwide’s             that court expressly acknowledged it was borrowing from
representatives used prepared “scripts” to explain and sell         jurisprudence under the FTC act. See 819 F.3d 1193 n.7. Even
the product, and to respond to any questions customers              assuming Gordon was not binding here, however, defendants
might have. Nationwide introduced evidence that it trained          have not made a persuasive showing that some other standard
its representatives to follow the scripts as closely as possible,   should apply.
that it monitored representatives' performance, and that it
imposed discipline if a representative failed to make any           Moreover, the standard defendants propose is not materially
of the disclosures called for by the scripts. In this action,       different from that set out in Gordon. Defendants have
CFPB is not attempting to impose any liability based on             offered only two minor additions to the Gordon language.


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First, defendants would expressly state that to be deceptive,    phone enrollment call, and paid for by consumers during the
the challenged representations or omissions must be likely       call. In 2011, Nationwide switched to a “deferred fee” model,
to mislead “a significant portion of targeted consumers....”     where consumers were not required to pay a set-up fee at the
The concept that “deception” requires something that             time ofenrolling in the IM program. Instead, the amount of the
misleads more than only the most gullible or inattentive         fee was set to be equal to one of the bi-weekly payments the
is already embedded in the borrowed FTC definition               consumer was agreeing to make, and Nationwide simply kept
—“likely to mislead consumers acting reasonably under the        for itself the first “extra” payment that the consumer made. 6
circumstances.” See also, F.T.C. v. Stefanchik, 559 F.3d 924,
                                                                 Nationwide capped the fee at $995. 7
929 (9th Cir. 2009) (upholding finding of deception where
“overwhelming number of consumers” were misled.)
                                                                 CFPB first contends defendants did not adequately disclose
                                                                 the existence of the setup fee, and/or its amount in the
Second, defendants would add an express element that
                                                                 mailers. The statements CFPB points to, however, more
consumers be misled “to their financial detriment.” As
                                                                 reasonably are characterized as misrepresentations regarding
defendants point out in arguing for such an element, in
                                                                 the actual savings achievable in light of the fee, rather than
the absence of an injury-in-fact that is “concrete and
                                                                 a failure to disclose the fee. Indeed, the “distinctive, eye-
particularized,” there is no standing under Article III of the
                                                                 catching bold text” stating “NO UPFRONT FEE” serves as
Constitution. Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).
                                                                 an implied warning that there likely were some fees, rather
Even assuming the FTC act allows for claims based on
concrete and particularized non-monetary injuries, and that      than deception. 8 As CFPB points to no rule that requires fee
the CFPA for some reason applies only where consumers            details to be disclosed in those initial written solicitations, the
have suffered monetary losses, there is no occasion to draw      mailers present no basis to hold defendants liable for failure
that distinction here, where the claim is that consumers were    to disclose the set-up fee adequately. 9
deceived in connection with signing up for services offered
by defendants for a fee—a financial detriment. 4 Accordingly,     *5 CFPB further contends that the existence and/or
while there are no grounds to depart from the definition of      amount of the set-up fee was deliberately concealed and/
“deceptive” provided in Gordon, the result here would be the     or inadequately disclosed in the phone conversations when
same even under the standard proposed by defendants.             consumers called in response to the mailers. Indeed, the
                                                                 scripts, and the directions for using them, were plainly
 *4 The third count of CFPB’s complaint asserts defendants       designed to minimize the attention a consumer likely would
have violated the Telephone Sales Rule, 16 C.F.R. § 310.2(dd)    pay to the set-up fee. CFPB particularly objects to the fact that
(“TSR”), a regulation implementing the Telemarketing and         the amount of the fee is not stated in dollars, but is instead
Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §             merely referenced as “one bi-weekly payment.”
6105(d). Finally, the fourth count alleges that defendants'
violation of the TSR by definition constitutes a violation of    The dollar amount of the bi-weekly payments is clearly
                                                                 disclosed. Moreover, because it is the amount a consumer
the CFPA. 5
                                                                 who enrolls in the program will thereafter be expecting to
                                                                 have withdrawn from his or her account every two weeks,
  C. Alleged Misrepresentations                                  any consumer acting reasonably under the circumstances will
CFPB contends it has proven that defendants committed            have that dollar figure well in mind. CFPB’s insistence that it
four basic misrepresentations or omissions in the mailers        is too much to ask the consumer to “cross-reference” the set-
and/or the phone scripts, involving a number of sub-             up fee amount to the known amount of the bi-weekly payment
misrepresentations or omissions.                                 is not persuasive.

                                                                 After the point in time that the amount of the bi-weekly
                                                                 payment has been calculated and disclosed to the consumer,
    (1) The existence and/or amount of the “set up fee”          the scripts direct Nationwide’s representatives as follows:
Prior to some point in 2011, Nationwide charged $245 as a
one-time set up fee to participate in the IM program. That
precise dollar amount was expressly disclosed during the


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                                                                   box labeled “I agree” appearing immediately below the setup
                                                                   fee paragraph. 11 Accordingly, CFPB has failed to show that
             Your one-time deferred set-up fee,                    the disclosure of the setup fee is inadequate, or that defendants
             which covers your lifetime program                    have made actionable misrepresentations or omissions with
             enrollment, is equal to just one                      respect to the existence or amount of the setup fee, or the cost
             standard biweekly debit.... We will                   of the IM program. 12
             simply deduct it from the first extra
             biweekly debit that occurs on the
             program within the first 6 months.
             The remaining extra biweekly debits                        (2) Defendants' affiliation with consumer’s lenders
             will go 100% to the principal of
                                                                    *6 CFPB contends that defendants' mailers and phone
             your loan. (Pause here.) Do you have
                                                                   scripts create a misleading impression as to the relationship
             any questions? (Make sure customer
                                                                   between Nationwide (or LPA) and the potential customers'
             understands this specific point.)
                                                                   lenders. As noted above, the mailer envelopes that revealed
                                                                   the lender’s name through the window also included a
                                                                   notice that Nationwide/LPA was not affiliated with the
See Trial Exh. 13. 10                                              lender. The mailers themselves typically contained a more
                                                                   robust disclaimer that Nationwide/LPA was not “affiliated,
Nationwide’s representatives are also directed to read that        connected, associated with, sponsored, or approved by the
paragraph in response to any question from a potential             lender.” Although those disclaimers appeared at the bottom of
customer as to what the program costs if the bi-monthly            the page, they were printed in the same size font as the body of
payment amount has already been calculated. If not, the            text. Cf, F.T.C. v. Cyberspace.Com LLC, 453 F.3d 1196, 1200
representative is directed to do that analysis with the customer   (9th Cir. 2006)(“Fine print” disclaimers on the reverse side of
first, and then to read the paragraph. See Trial Exh. 15.          mailers insufficient to preclude misleading effect.).

The enrollment contact every Nationwide customer is                Additionally, other portions of the marketing materials
required to sign states:                                           and the telephone scripts would necessarily make clear to
                                                                   consumers that Nationwide was independent from the lender,
                                                                   including the fact that Nationwide’s representatives had to
             SETUP FEE. By signing below,                          obtain monthly payment figures from the customers, and
             I acknowledge that I agree to a                       various statements by which Nationwide contrasted itself
             non-refundable deferred setup fee                     from the lender. At least by the time of enrollment, no
             equivalent to one bi-weekly debit and                 reasonable consumer could have been laboring under any
             that I currently owe that amount to                   misunderstanding that Nationwide was the lender, or even
             NBA; and I authorize NBA to collect                   directly affiliated with the lender.
             such amount by deducting it from the
             amount it collects from my Designated                 The law is clear, however:
             Account. In addition, if I cancel my
                                                                     A later corrective written agreement does not eliminate a
             enrollment in the Program for any
                                                                     defendant’s liability for making deceptive claims in the
             reason before I have paid such amount
                                                                     first instance. See Resort Car Rental Sys., Inc. v. FTC,
             in full, I authorize NBA to collect
                                                                     518 F.2d 962, 964 (9th Cir. 1975) (per curiam) (explaining
             the unpaid balance by electronically
                                                                     that advertising is deceptive “if it induces the first contact
             debiting the Designated Account.
                                                                     through deception, even if the buyer later becomes fully
                                                                     informed before entering the contract”).

This paragraph regarding the setup fee appears directly below      Gordon, supra, 819 F.3d at 1194 (9th Cir. 2016).
a paragraph setting out the bi-weekly debit amount. See Trial
Exh. 88. Consumers enrolling in the IM program must check a



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Here, the disclaimers on the mailer envelopes and at the            only four and a half years, most will end up having paid more
bottom of the mailers ordinarily will be sufficient to preclude     to Nationwide in fees than they will ever realize in savings.
any reasonable consumer from believing that Nationwide
actually was the lender, or meaningfully affiliated with the        Librock and CFPB do not dispute that a consumer who
lender. Nevertheless, a reasonable consumer likely would            participates in the IM program until the loan is paid in full,
be confused—and therefore misled—by the net impression              (1) will pay off the loan sooner, and therefore, (2) will pay
created by many of the mailers, which contained additional          less in total interest charges. Librock’s analysis is premised
language designed to instill in potential customers a sense         on looking at how much total interest a borrower will have
that they had some kind of existing obligation by virtue of         already paid as of a particular time under the IM program,
their loan to respond to the mailers. Examples include mailers      contrasted with how much total interest he or she would have
marked “Second Notice,” and those including statements such         already paid at the same point in time without the IM program.
as “If you waive the biweekly option, you will be asked             Under that mode of analysis, the total decrease in interest
to confirm that you understand you are voluntarily waiving          payments already made will not exceed the total fees paid
the interest saving and loan term reduction achieved with           until approximately the ninth year, given a loan amount and
the biweekly option.” See, e.g., Trial Exh. 42. Indeed, even        interest rate that is typical of Nationwide customers.
the name “Loan Payment Administration,” while perhaps
an accurate description of the service defendants provide,          Apart from certain quibbles not affecting the analysis,
potentially creates an initial impression that the consumer is      defendants do not challenge Librock’s math. Rather, they
being contacted by some arm or department of the lender.            and their expert Harvey Rosen, reject Librock’s theoretical
                                                                    approach to the question. 15 Defendants argue that the interest
That some of the mailers actually create a misleading               savings resulting from making any extra payment towards
impression is evidenced by the fact that Nationwide’s scripts       principal can only be meaningfully measured by looking at
include responses to be given to callers who ask whether            the total interest amount that will have been paid by the
Nationwide is, or is affiliated with, the lender. 13 Accordingly,   end of the loan term, given the extra principal payments,
CFPB has adequately shown that some, but not all, of the            and comparing that to what the total interest would have
mailers are likely to mislead consumers acting reasonably           been absent those payments. Defendants point out that Truth
under the circumstances. The record does not contain a              in Lending Act disclosures lenders must provide at loan
basis for determining how many of Nationwide’s customers            initiation calculate interest exactly that way, and show what
would have been impacted by this issue. 14 As such, these           the total interest paid will have been assuming monthly
misrepresentations contribute to the liability finding, and         payments are timely made over the full term of the loan.
must be addressed in the injunctive relief. They provide            Rosen testified that even if a Nationwide customer made only
less support for monetary relief, however, than do the              one extra principal payment prior to dropping out of the IM
misrepresentations and omissions that can be presumed to            program, the reduction in total interest paid over the full term
have been material to virtually all Nationwide customers.           of the loan would exceed the setup fee and the charge for the
                                                                    one automatic debit.

                                                                    Defendants further argue that looking at it from the
          (3) Timing and amount of interest savings                 perspective of a reduction in the total interest obligation,
                                                                    it becomes irrelevant that many consumers may refinance
 *7 Second only to the question of whether the set-up fee
                                                                    before the loan term ends, or even before the “break-even”
was adequately disclosed, the parties' focused most heavily
                                                                    point claimed by Librock. Because the amount refinanced
on whether Nationwide’s representations as to the timing and
                                                                    will be a lower principal balance, the interest savings will
amount of interest savings were false or misleading. CFPB
                                                                    automatically carry through to the new loan (although the
relied on the testimony of its expert witness, Neil Librock,
                                                                    precise amount of savings may vary, depending on differences
who opined that given the setup fee and the per-debit fees, the
typical Nationwide customer would not reach a “break-even”          in interest rates as between the loans). 16
point until after making approximately nine years' worth of
payments under the IM program. CFPB further argues that             The problem with defendants' position is even if they
because consumers on average stay in a specific mortgage for        are technically correct, at least some portions of their
                                                                    marketing materials are “likely to mislead consumers acting


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reasonably under the circumstances.” Gordon, 819 F.3d at           lenders are required to use when disclosing lifetime interest
1192. Using their calculations for savings over the full loan      savings. Nor is it inherently misleading or unreasonable to
term, defendants divide that by the number of months and           use a “life of the loan” assumption, regardless of the fact that
repeatedly represent to potential customers that they will         most consumers may refinance long before either the original
save an “average” of some specific dollar amount per month.        term of the loan, or the shortened payoff period that will
Under the same reasoning, defendants make representations          result under the IM programs. Thus, except for the problem
that customers will save amounts such as $1500 in the first        of customers who cancel after seven days but before an extra
year, and $5000 after only two years. Defendants also use          principal payment has been made, CFPB has not shown it
the same approach in calculating figures they tout as the total    to be wrongful for Nationwide to “guarantee” savings, or to
savings its customers have already achieved.                       use savings figures that compare total interest on the same
                                                                   loan over its full term with total interest on the same loan
 *8 A reasonable consumer is likely to misunderstand how           under the IM program. Where defendants went astray was
defendants are using “average” in this context, and is likely to   in reducing that to “monthly” and “yearly” savings figures
assume the “average” is a caveat to address minor variations       that likely would mislead a reasonable consumer, even if not
or imprecisions in the numbers from month to month. 17             literally false.
A reasonable consumer is likely not to understand that in
terms of actual out-of-pocket dollars being applied as interest     *9 Finally, in what may have been a holdover from the
each month, the reduction will be minimal until much later         time that Nationwide collected the setup fee upon enrollment,
in the term of the loan, and that the total “savings” will be      some of the marketing materials represented that “100%” of
even less in light of the fees. In other words, a reasonable       the “extra” payments went to reducing the loan principal.
consumer is likely to understand the promises of “average          This, of course, was false insofar as the first “extra” payment
monthly savings” or of the savings in the first year in a manner   was retained by Nationwide as the setup fee. While the setup
more congruent with the approach taken by Librock. Upon            fee itself was adequately disclosed elsewhere, that cannot
being told, for example, that there will be $1500 in interest      excuse this misrepresentation.
savings the first year, a reasonable consumer can be misled
into believing that his or her actual interest payments to the
lender that year will be $1500 less than if he or she elects not                 (4) Consumers' ability to achieve
to buy the IM program.                                                        similar savings without the IM program

To be sure, defendants often included disclaimers explaining       Defendants' telephone scripts and promotional videos
                                                      18
that their figures were based on the “life of the loan.” Those     included multiple statements suggesting to potential
caveats, however, are insufficient to offset the misleading        customers that, with few exceptions, the only way to achieve
effect of the assertions about monthly savings, or savings         savings through making bi-weekly payments was to enroll
in the first and second year. See Cyberspace.Com, supra,           in the IM program, or perhaps through some other third
453 F.3d at 1200 (“A solicitation may be likely to mislead         party “administrator.” For example, defendants claimed that
by virtue of the net impression it creates even though the         “[o]nly a small percentage of lenders actually offer a bi-
solicitation also contains truthful disclosures.”).                weekly mortgage program to their customers.... The few
                                                                   lenders who do offer a bi-weekly program require you to set
Additionally, even under defendants' approach, they are            it up through an administrator like us.” 20
forced to concede there is no reduction in the lifetime interest
obligation at any time before Nationwide “submits the first        For customers whose loans are with lenders who in fact
extra biweekly debit to the lender that is directly applied to     do not offer a biweekly payment option, any inaccuracy in
the principal.” As that may not occur for several months,          defendants' representations on this issue is immaterial. The
and certainly does not occur for some time after Nationwide        evidence shows, however, that defendants actively compiled
collects the set-up fee, any and all representations regarding     and maintained a list of lenders who do offer some form of a
“immediate” savings are misleading. 19                             biweekly payment plan, and that some, or perhaps many, of
                                                                   Nationwide’s customers had loans with those lenders.
Plainly, defendants cannot be precluded from offering
projected savings calculations under the same method that


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The record is unclear as to how many lenders offer a                 unsupported by any authority and would be unworkable. At
biweekly payment option that is functionally equivalent to           most, a credible and specific consumer complaint might in
the IM program—i.e., a program in which one-half the                 some circumstances serve as a “storm warning” and put the
ordinary monthly payment is automatically deducted from the          CFPB on “inquiry notice” that it should begin investigating.
consumer’s account, with the result that the loan principal is       See Merck & Co. v. Reynolds, 559 U.S. 633, 653 (2010).
decreased by the equivalent of one “extra” monthly payment           As the Merck court made clear, however, “discovery” of
each year. Additionally, under the IM program, payment of            facts that would prompt a reasonably diligent plaintiff to
the setup fee entitled consumers to use the biweekly payment         begin investigating is not equivalent to discovery of the facts
program indefinitely—i.e., even on different loans if they           constituting the violation, and “does not automatically begin
refinanced later. Payment of the fee also entitled the consumer      the running of the limitations period.” Id.
to use the program on other debts, e.g. credit cards. Finally, the
fee also entitled consumers to receive the purported benefits        Thus, even assuming the receipt of an unverified complaint
of “payment audits.” While there was very little evidence as to      from a consumer containing allegations somewhat similar to
the degree to which any consumers actually used these other          the claims later pursued by CFPB was sufficient to create
services or as to the value they actually provided, at least in      a duty for CFPB to begin investigating those allegations,
theory they distinguish the IM program from the programs             the statute did not begin to run until CFPB “thereafter
some lenders offer, and therefore could serve as a basis for         discover[ed] or a reasonably diligent plaintiff would have
consumers to elect the IM program.                                   discovered ‘the facts constituting the violation.’ ” Id. 22
                                                                     Nothing in the record suggests that CFPB actually discovered
That said, CFPB has adequately shown that defendants'                the facts, or that a reasonably diligent plaintiff would have
representations to the effect a consumer must use the                discovered the facts, in less than the two-plus months between
IM program, or perhaps a similar program from another                March 3, 2012 and May 10, 2012—the date three years prior
third party administrator, were materially misleading when           to filing. Accordingly, there is no basis to conclude this action
made in the course of enrollment telephone calls with
                                                                     is time-barred. 23
potential customers whose loans were with lenders known to
CFPB to offer a functionally-equivalent biweekly payment
plan. CFPB has not shown, however, how many of
Nationwide’s customers fell into that class. As such, these                                 III. REMEDIES
misrepresentations, like those relating to lender affiliation,
contribute to the liability finding, and must be addressed             A. Restitution
in the injunctive relief. Again, however, they provide less          The CFPA vests the court with broad authority to impose
support for monetary relief than do the misrepresentations and       appropriate remedies for any violations. 24 It provides, in
omissions affecting all the customers.                               pertinent part:

                                                                        *11 The court ... in an action or adjudication proceeding
   D. Statute of limitations                                           brought under Federal consumer financial law, shall have
 *10 Defendants contend this entire action is barred by the            jurisdiction to grant any appropriate legal or equitable relief
three-year statute of limitations of the CFPA. See 12 U.S.C. §         with respect to a violation of Federal consumer financial
5564(g)(1) (“Except as otherwise permitted by law or equity,           law....
no action may be brought under this title more than 3 years
                                                                       Relief under this section may include, without limitation—
after the date of discovery of the violation to which an action
relates.”) Defendants argue the statute began to run on March          (A) rescission or reformation of contracts;
3, 2012, when CFPB received a relevant consumer complaint
alleging that Nationwide engaged in misleading marketing               (B) refund of moneys or return of real property;
practices. This action was filed on May 11, 2015, just over
                                                                       (C) restitution;
two months late, in defendants' view. 21
                                                                       (D) disgorgement or compensation for unjust enrichment;
The notion that mere receipt of a consumer complaint
can trigger the statute of limitations as against CFPB is              (E) payment of damages or other monetary relief;



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                                                                              properly find that a rhinestone
  (F) public notification regarding the violation, including                  merchant who engages in such
  the costs of notification;                                                  practices has behaved in a way that a
                                                                              reasonable person in the circumstances
  (G) limits on the activities or functions of the person; and
                                                                              would have known was dishonest or
  (H) civil money penalties....                                               fraudulent.

12 U.S.C. § 5565(a). 25
                                                                 F.T.C. v. Figgie Int'l, Inc., 994 F.2d 595, 604 (9th Cir. 1993).
Here, CFPB seeks “restitution” on behalf of consumers from
Nationwide and LPA, in the amount of $73,955,169, which          The Figgie court went on to observe:
it established at trial represents revenue from setup fees
(less refunds) paid by approximately 126,500 consumers
who participated in the IM Program from July 21, 2011                         The seller’s misrepresentations tainted
                          26                                                  the customers' purchasing decisions.
to December 31, 2015.       To the extent such restitution
is not paid, CFPB also seeks “disgorgement” from Lipsky                       If they had been told the truth,
in the amount of $33,039,299, representing shareholder                        perhaps they would not have bought
distributions he received from 2011 to 2015, discussed                        rhinestones at all or only some.... The
below. 27 At trial, defendants presented no evidence or                       fraud in the selling, not the value of the
argument calling into question the accuracy of these dollar                   thing sold, is what entitles consumers
figures. The question, therefore, is only whether restitution,                in this case to full refunds or to refunds
and potentially disgorgement, in these amounts is otherwise                   for each detector that is not useful to
appropriate.                                                                  them.


Much of Ninth Circuit case law has arisen in the context
of egregious frauds where the issue is what the upper            994 F.2d at 606 (emphasis added).
limits are on restitution awards. Relatively little guidance
exists as to how a court should exercise discretion in           Thus, in the abstract, Figgie arguably would support
circumstances where appropriate equitable relief may be less     awarding the restitutionary measure that CFPB requests here
than the full measure that would theoretically be available.     —complete refund of all of the setup fees Nationwide’s
As the discussion above reflects, CFPB has not proved that       customers paid in the relevant time period, deducting only
defendants engaged in the type of fraud commonly connoted        those refunds previously made. As noted above, however,
by the well-worn phrase “snake oil salesmen.” Defendants         some of the matters found to constitute misrepresentations or
have not shown, and could not show, that the IM Program          omissions did not apply to all customers. It is also of some
never provides a benefit to consumers, or that no fully-         consequence that CFPB did not succeed in proving that the
informed consumer would ever elect to pay to participate in      setup fee itself was not adequately disclosed. Additionally, the
the program.                                                     one category of misleading representations that affected all
                                                                 or virtually all Nationwide customers—the timing of savings
 *12 The law is nonetheless clear that it is not automatically   —involved statements that had an articulable basis in fact.
a defense to claim a consumer realized some benefit from         While the literal truth of nearly all of those statements does
a product that he or she would not have bought, absent           not absolve defendants of liability for the misleading way
misrepresentations. The Ninth Circuit explains:                  they chose to present the savings calculations, it does further
                                                                 undercut the appropriateness of requiring refund of all setup
                                                                 fees customers paid.
            [I]t is dishonest to represent
            that rhinestone jewelry is actually                  Finally, it is worth noting that even in Figgie, the
            diamond, and to charge diamond                       restitutionary award was structured in a way that those
            prices for it. A district court may                  customers who elected to retain the benefits of the products
                                                                 they had purchased (however minimal) would not receive the


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windfall of both the benefit and a refund. See 994 F.2d at 606
(“The district court’s order creates no windfall for Figgie’s          (D) the history of previous violations; and
customers.... Those consumers who decide, after advertising
                                                                       (E) such other matters as justice may require.
which corrects the deceptions by which Figgie sold them the
heat detectors, that nevertheless the heat detectors serve their
                                                                     Here, CFPB is requesting the maximum first tier penalty
needs, may then make the informed choice to keep their heat
                                                                     of $5000 per day from July 21, 2011, through November
detectors instead of returning them for refunds.”). While such
                                                                     23, 2015, for a total award of $7,930,000. While it may
a structure may not be legally required in every instance, it
                                                                     be that CFPB only sought first tier penalties because it
further underscores that restitution is an equitable remedy, to
                                                                     believed the restitutionary award would be large, under all the
be applied with as much fairness as is feasible. 28                  circumstances that penalty figure is appropriate. The record
                                                                     plainly supports an inference that defendants sought to use
Accordingly, taking into account all of the circumstances            the most effective sales tactics possible to market the IM
present here and balancing the equities, the conclusion              program, and that in doing so they were willing to push up
that follows is CFPB has failed to show restitution of all           against the legal limits. The record also shows, however, that
customers' setup fees is appropriate. Furthermore, CFPB has          defendants took affirmative steps such as training, quality
not offered a basis for any restitution that might be limited in     control, and seeking legal counsel, in an effort to stay on the
some way so as to make it a just result. Thus, no restitutionary     right side of the line. As such, imposing a penalty at the higher
award will issue.                                                    tiers for reckless or knowing violations is not warranted.
                                                                     The aggressiveness with which defendants pushed the line,
                                                                     however, supports imposition of the first tier maximum.
   B. Disgorgement from defendant Lipsky
 *13 The CFPB sought disgorgement from individual
                                                                     Finally, CFPB proposes that the award be made against
defendant Lipsky, but acknowledged that if the corporate
                                                                     “each” defendant, without specifying whether it intends joint
entities complied with a judgment requiring them to make the
                                                                     and several liability for the $7,930,000 amount, or three
full measure of restitution requested, disgorgement would be
                                                                     separate penalties, each in that amount. Although Nationwide,
cumulative, and Lipsky would have no obligation to disgorge
                                                                     LPA, and Lipsky are legally three separate persons, there is
the shareholder distributions he derived during the relevant
                                                                     not a sufficient basis to impose a total penalty of almost $24
time periods. In light of the fact that no restitutionary award is
                                                                     million. Accordingly, a single penalty of $7,930,000 will be
being made, an order for disgorgement by Lipsky is likewise
                                                                     imposed, for which defendants are jointly and severally liable.
unwarranted.


                                                                        D. Injunctive relief
   C. Statutory Penalties
                                                                     The parties are hereby ordered to meet and confer to negotiate
The CFPA provides: “Any person that violates, through any
                                                                     as to the form and content of appropriate injunctive relief,
act or omission, any provision of Federal consumer financial
                                                                     which will govern any future operation by defendants of the
law shall forfeit and pay a civil penalty....” 12 U.S.C. §
                                                                     IM program or any substantially similar program, regardless
5565(c)(1). The statute provides for a basic penalty of up
                                                                     of how it may be named. Within 30 days of the date of this
to $5000 per day, with reckless or knowing violations at
                                                                     opinion and order, the parties shall submit a joint proposal, or
progressively higher maximum rates. In setting the penalty
                                                                     to the extent they cannot agree, separate proposals. Generally
amount, a court may consider the following mitigating
                                                                     speaking, the injunctive relief should permit defendants to
factors:
                                                                     resume operation of the IM program, provided they make
  (A) the size of financial resources and good faith of the          changes to the mailers, phone scripts, and promotional videos
  person charged;                                                    sufficient to eliminate each of the misleading or deceptive
                                                                     points addressed above.
  (B) the gravity of the violation or failure to pay;

  (C) the severity of the risks to or losses of the consumer,
  which may take into account the number of products or                                 IV. COUNTERCLAIMS
  services sold or provided;



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                                                                   supports a conclusion that while the filing of this action itself
Defendants' counterclaims allege, in essence, that CFPB
                                                                   —a privileged and non-actionable act—may have contributed
acted wrongfully by engaging in extra-judicial “back-room
                                                                   to the termination of the banking relationships, those
pressure tactics” designed to coerce Nationwide’s banking
                                                                   relationships were already strained for reasons unrelated to
partners to cease doing business with it. The counterclaims
                                                                   any conduct by CFPB. Lipsky’s testimony on the point
were the subject of two rounds of motions to dismiss,
                                                                   demonstrates that defendants lack any facts to support the
and a motion for summary judgment. The first motion to
                                                                   claim of wrongful extra-judicial pressure. Rather, Lipsky
dismiss was granted because Nationwide had failed to set
                                                                   testified he has drawn his own conclusion that the banks
out sufficient plausible facts to show (1) that CFPB had
                                                                   terminated the relationships because of CFPB’s mere identity
participated in allegedly wrongful conduct as part of the
                                                                   as the plaintiff in this action. Defendants submitted no
so-called “Operation Chokepoint” program, 29 or (2) that
                                                                   evidence from the banks sufficient to establish the factual
the banks terminated their relationships with Nationwide as
                                                                   predicates for their counterclaims, even assuming “extra-
the result of any such participation by CFPB in Operation
                                                                   judicial” pressure might, in some circumstances, support a
Chokepoint, or any other allegedly wrongful extra-judicial
                                                                   claim under the legal theories advanced. Accordingly, the
conduct. A second motion to dismiss, however, was denied,
                                                                   counterclaims fail for lack of proof.
because defendants presented additional factual allegations
—and arguments regarding the inferences reasonably to be
drawn from those averments—that a decision on the basis of
the pleadings alone would not have been appropriate.                                     V. CONCLUSION

                                                                   On the complaint, CFPB is entitled to judgment in its favor
 *14 Then, summary judgment was also denied. The order
                                                                   for a statutory penalty of $7,930,000, as against defendants
observed that “the direct evidence tying the CFPB to any
                                                                   Nationwide, LPA, and Lipsky jointly and severally. CFPB is
actionable wrongs remains thin,” but concluded defendants
                                                                   further entitled to injunctive relief consistent with the findings
had pointed to enough inferences potentially arising from
                                                                   above, the exact terms of which shall be determined after the
all the circumstances under which their banking partners
                                                                   parties engage in meet and confer and present their joint or
terminated the relationships that it would be premature to
                                                                   separate proposals, which shall be submitted within 30 days
conclude as a matter of law no reasonable fact finder could
                                                                   of the date of this opinion and order. CFPB is also entitled to
find in their favor.
                                                                   judgment in its favor on the counterclaims.
Sitting now as a trier of fact, the Court concludes the evidence
at trial—no more robust than that previously presented—            IT IS SO ORDERED.
does not warrant drawing an inference in this case that
CFPB engaged in any “back-room pressure tactics” as part           All Citations
of “Operation Chokehold” or otherwise, or that the banks
terminated their relationships with defendants based on any        Not Reported in Fed. Supp., 2017 WL 3948396
such wrongful conduct by CFPB. Rather, the evidence




                                                           Footnotes


1      Although this opinion differs substantially in form and substance from both parties' proposed findings and
       conclusions, those submissions were nonetheless very helpful for purposes of tracking and understanding
       the evidence and the parties' respective contentions.
2      Nationwide offers other options, such as weekly payments, and provides certain other services as part of
       the IM program, discussed below. The option of other payment schedules does not affect the analysis. For
       convenience, this opinion and order will hereafter refer only to the bi-weekly payment structure, which is also
       what the parties focused on at trial.




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3     Nationwide did not make outgoing telephone sales calls, other than in response to inquiries received from
      potential customers.
4     Defendants appear to believe that if a “financial detriment” element is added, they can argue there was no
      “deceptiveness” here because, under their view of how the IM program works, all or virtually all consumers will
      financially benefit from participating, even if only for a short period of time. Even if that is factually accurate,
      it would not mean there is no financial detriment. The basic claim here is not that the IM program never
      could provide a financial benefit, but that consumers are misled into enrolling through misrepresentations
      and omissions as to the nature and timing of those benefits, and as to how easily similar benefits might
      be available from other sources at lower cost. If a seller of Blackacre misrepresents some material fact in
      connection with the sale of the property, it is entirely conceivable that the buyer might still realize an overall
      financial benefit from the property. If the buyer’s gain is less than it would have been had the representations
      been true, or if the investment would have been more profitable if made elsewhere, however, there still is
      a cognizable financial detriment resulting from the fraud. Any definition of “deception” that excludes such
      circumstances merely because a buyer has a net financial gain is not a viable standard.
5     As such, the fourth claim is wholly derivative of the third. CFPB has identified no additional consequences
      that might flow from labeling any violation of the TSR as also constituting a violation of the CFPB. Indeed,
      CFPB has not sought any separate remedies under the TSR at all, under either the third or the fourth claim.
6     Consumers had the ability to select which day of the week the payment would be deducted every other week.
      In every calendar year there are always four months that have five occurrences of any given day of the week.
      For example, in 2017, there are five Mondays in January, May, July, and October. There are five Fridays in
      March, June, September, and December. The length of time until a customer would make the first “extra”
      payment therefore would depend on when he or she signed up, and which day of the week was selected for
      the automatic withdrawals. It could happen as early as the first month after enrollment (or possibly even in
      the same month), or could be a few months later.
7     When Nationwide first switched to the deferred fee, the cap was much higher. The parties have not assigned
      any significance to that fact.
8     CFPB’s contention to the contrary that “no upfront fee” would leave reasonable consumers with the
      impression that there are no fees is not persuasive. Although a Nationwide customer testified at trial that
      she drew that conclusion, her testimony is not sufficient credible evidence standing alone to establish that a
      reasonable consumer likely would be misled by the language “no upfront fee” into believing there was no fee.
9     Similarly, there is no requirement that defendants disclose the amount of the setup fee in promotional videos.
10    As noted, the precise wording of the scripts varied to some degree at different points in time. This language
      is representative.
11    Consumers were also charged $3.50 per automatic debit. CFPB does not contend this fee was inadequately
      disclosed. Indeed, CFPB argues that defendants deliberately emphasized the debt fees as part of their effort
      to downplay the setup fee. While that undoubtedly is the case, it does not render the disclosures of the setup
      fee inadequate.
12    That said, in their response to CFPB’s request for injunctive relief, defendants have volunteered that upon
      resuming operations, they will disclose the setup fee as a specific dollar amount in future scripts and contracts.
      Because doing so will put defendants' practices on more solid ground, they will be held to that promise, and
      it should be incorporated into the parties' proposal for the terms of the injunctive relief.
13    CFPB faults Nationwide’s scripts for not directing representatives to eliminate any possible ambiguity by
      answering with a simple “no.” The scripted response is sufficiently accurate to preclude finding liability based
      thereon. Nevertheless, an arguably better practice would be for the scripts to direct representatives to give
      a “no, but ...” answer, rather than never clearly saying “no.” A “no, but ...” response would not necessarily
      have to include the word “but.” It could be any answer that begins with a “no” and is followed immediately
      with a more fulsome explanation.
14    Because CFPB has shown there were other misrepresentations affecting all of Nationwide’s customers, the
      failure to quantify the number implicated by this issue is not critical. It would, however, preclude awarding



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      restitution to all customers based only on these misrepresentations, were restitution otherwise appropriate.
      As such, this issue contributes to the conclusion set out below that CFPB has not shown a restitutionary
      award to be warranted.
15    Because of illness, Rosen was unable to testify at trial. The parties stipulated to admission of his deposition
      transcript in lieu of live testimony.
16    Of course, as defendants also point out, the IM program is fully-transferable to any new loan, without a
      requirement that another setup fee be paid. There was little evidence, though, as to how often Nationwide’s
      customers took advantage of that option.
17    Additionally, at least some mailers did not use the term “average” and instead merely stated a “monthly
      interest savings” amount. See e.g. Trial Exh. 70.
18    Defendants also stated that the figures were “net of fees,” which ordinarily means the fees have already been
      deducted from the numbers given. There is some implication in the briefing that defendants may be using the
      term to mean that the claimed savings do not reflect the fees a customer will have to pay to achieve those
      savings. If defendants in fact deducted the fees when calculating the stated savings figures, there is not an
      additional problem. If, however, they are using “net of fees” to mean its opposite, this is another misleading
      aspect of the marketing materials.
19    Additionally, Nationwide by policy offers only a seven day period in which to cancel, although there was
      evidence it would waive the setup fee in some other circumstances. In the event Nationwide retains the setup
      fee even where a customer leaves the program before making the first extra payment towards principal, the
      “guarantee” of savings will not be realized.
20    No one suggests that a sufficiently self-disciplined consumer could not follow a biweekly payment plan, even
      where the lender does not accept biweekly payments. For example, the consumer could make transfers of
      half the monthly mortgage amount from his or her main checking account into another account on a biweekly
      basis, and then make monthly payments to the lender from that second account—i.e., doing exactly what
      Nationwide does, but without either the setup fee or the per debit fee. That possibility, however, does not
      mean the IM program is without value, as it plainly provides both convenience and a substitute for self-
      discipline that a reasonable consumer might very much like to have.
21    Defendants also suggest that the statute was running as early as 2010, based on information learned by
      CFPB director Richard Cordray in his prior capacity as Attorney General for the State of Ohio. Defendants
      have not shown that the Ohio Attorney General’s office in 2010 had knowledge of the matters on which the
      CFPB’s claims in this action are based. Indeed, it is undisputed the change to the deferred set-up fee lying
      at the heart of the present case did not occur until 2011.
22    For the statute of limitations to be running, CFPB necessarily would have to be in possession of sufficient
      facts to file suit. Had CFPB rushed into court on March 4, 2012 with a complaint based on no information
      other than the consumer complaint received the prior day, it would have been a clear violation of Rule 11.
      Plainly the statute was not yet running.
23    Defendants' post-trial briefing raises an additional contention in the nature of an affirmative defense, not
      previously advanced in this action, that the CFPB is unconstitutional. The arguments defendants make were
      accepted in PHH Corp. v. CFPB, 839 F.3d 1 (D.C. Cir. 2016), but that opinion was vacated when rehearing en
      banc was granted, and no new decision has yet issued. Remaining authority is in accord that the arguments
      are not tenable. See Consumer Fin. Prot. Bureau v. Navient Corp., 2017 WL 3380530, at *13-18 (M.D. Pa.
      Aug. 4, 2017)(surveying cases).
24    The conclusions set forth above that defendants made certain misrepresentation and omissions is sufficient
      to support liability under both the “abusive” and “deceptive” prongs of the CFPA and under the TSR. There
      is no suggestion that separate remedies for those violations would be appropriate.
25    Defendants suggest that under 12 U.S. Code § 5564(a) CFPB is required to elect between civil penalties or
      “all appropriate legal and equitable relief.” Although the statute uses the term “or,” in context it plainly is listing
      non-exclusive options CFPB is permitted to pursue, as is confirmed by the listing of the available remedies
      set out in § 5565(a).



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26    At argument, CFPB initially was hard-pressed to identify the rationale on which it selected refund of the
      setup fee as an appropriate remedy to seek. Ultimately, however, it explained that the setup fee effectively
      represents the purchase price of the financial services product, which consumers were misled into purchasing
      —even assuming the setup fee itself was adequately disclosed. Under that reasoning CFPB likely could have
      also sought refund of the debit charges. Its election not to do so, however, does not warrant rejecting refund
      of the setup fee as a theoretically appropriate remedy.
27    CFPB additionally seeks civil monetary penalties, as also discussed below.
28    Although Figgie involved a tangible product that customers could simply keep if they desired to do so, there
      could be circumstances under which a similar remedy could be fashioned even where services, as opposed
      to tangible goods, are at issue.
29    Nationwide alleged “Operation Chokepoint,” was a campaign initiated by the United States Department of
      Justice to force banks to terminate their business relationships with payday lenders, and speculated that the
      campaign had been extended to other businesses such as its own.


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                                                                 Windridge, Inc., d/b/a Windspree; McLaughlin
                  684 Fed.Appx. 207                             Anderson Villa Rentals; Virgin Islands Hotel and
            This case was not selected for                       Tourism Association, f/k/a St. Thomas and St.
       publication in West's Federal Reporter.                   John Hotel Association; Wheatley Taxi Service
 See Fed. Rule of Appellate Procedure 32.1 generally              and Tours; Freddy Lettsome, d/b/a Dynamic
    governing citation of judicial decisions issued               Tours; Alex Bordeaux; McLaughlin Anderson
     on or after Jan. 1, 2007. See also U.S.Ct. of               Vacations, Ltd.; Nancy Anderson; McAnderson
    Appeals 3rd Cir. App. I, IOP 5.1, 5.3, and 5.7.             Real Estate, Inc.; East End Operations, Inc., d/
   United States Court of Appeals, Third Circuit.
                                                                 b/a East End Tax Association; Westin St. John
             Vincent Lionel BENJAMIN, et                       Hotel Company Inc., d/b/d Westin Resort St. John
            al.; * Terri L. Griffiths, Appellant
                                                                                  Nos. 15-1406
                              v.                                                         |
   V.I. PORT AUTHORITY; Kenn Hobson, in their                                Nos. 15-3496 & 15-3497
  official capacity; Cassan Pancham, in their official                                   |
   capacity; Virgin Islands Economic Development                 Appeal No. 15-1406 Argued on December 8, 2015
  Authority; Economic Development Commission;                                            |
   Percival Clouden, Chief Executive Officer, in his               Appeals Nos. 15-3496 & 15-3497 Submitted
   official capacity; Ritz-Carlton Virgin Islands Inc.;          under Third Circuit LAR 34.1(a) on July 27, 2016
     Marriott International, Inc.; Kelly Tours, Inc.;                                    |
                                                                         (Opinion filed: March 27, 2017)
     Ritz Carlton Club; Plantation Bay LLC; Caneel
    Bay, Inc.; CBI Acquisitions, d/b/a Caneel Bay, A         Synopsis
     Rosewood Resort; Rosewood Hotels & Resorts              Background: Taxi association and individual taxi drivers
      LLC; Starwood Hotels & Resorts Worldwide,              brought action against Virgin Islands Port Authority and
   Inc., d/b/a Westin Resort; Windridge, Inc., d/b/          various other defendants, including hotels and another
  a Windspree; McLaughlin Anderson Villa Rentals;            taxi company, for violating statute granting the association
   Virgin Islands Hotel and Tourism Association, f/          exclusive concession to provide taxi service to persons
    k/a St. Thomas and St. John Hotel Association;           leaving airport. The District Court for the Virgin Islands,
                                                             No. 08-cv-00142, Juan R. Sanchez, J., 2015 WL 5535237,
        Wheatley Taxi Service and Tours; Freddy
                                                             dismissed claims and denied association's attorney's motion
   Lettsome, d/b/a Dynamic Tours; Alex Bordeaux;
                                                             to withdraw as counsel. Association, drivers, and attorney
     McLaughlin Anderson Vacations, Ltd.; Nancy
                                                             appealed.
 Anderson; McAnderson Real Estate, Inc.; East End
   Operations, Inc., d/b/a East End Tax Association
              Vincent Lionel Benjamin, et al
                                                             Holdings: The Court of Appeals, Roth, Circuit Judge, held
                            v.
                                                             that:
   V.I. Port Authority; Kenn Hobson, in their official
 capacity; Cassan Pancham, in their official capacity;       under Virgin Island corporate law, taxi association's litigation
   Virgin Islands Economic Development Authority;            committee lacked authority to act on the association's behalf;
     Economic Development Commission; Percival
     Clouden, Chief Executive Officer, in his official       evidence was insufficient to support claim that association's
  capacity; Ritz-Carlton Virgin Islands Inc.; Marriott       board of directors independently ordered the association's
   International, Inc.; Kelly Tours, Inc.; Ritz Carlton      counsel to file lawsuit;
    Club; Plantation Bay LLC; Caneel Bay, Inc.; CBI
 Acquisitions, d/b/a Caneel Bay, A Rosewood Resort;          under Virgin Islands law, any attempts by taxi association
                                                             to ratify decision to file lawsuit were either untimely or
  Rosewood Hotels & Resorts LLC; Starwood Hotels
                                                             improper; and
   & Resorts Worldwide, Inc., d/b/a Westin Resort;



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                                                                  as moot Griffiths’ appeal of the order denying her motion
district court did not abuse its discretion in dismissing taxi    withdraw.
drivers' claims for failure to prosecute.


Affirmed.                                                                                        I.

                                                                  A Virgin Islands statute passed in 1986 granted VITA an
Procedural Posture(s): On Appeal; Motion to Dismiss.
                                                                  exclusive concession at Cyril E. King Airport to provide taxi
 *209 Appeal from the District Court of the Virgin Islands,       service to persons leaving the airport. The Virgin Islands Port
(D.C. No. 08-cv-00142), District Judge: Honorable Juan R.         Authority, which manages the airport, was responsible for
Sanchez                                                           enforcing the concession by redirecting non-VITA ground
                                                                  transportation. The concession had a ten-year term with an
Attorneys and Law Firms                                           option to renew for an additional ten-year term, beginning
                                                                  with VITA’s acceptance of the concession in 1987. The
Virgin Islands Taxi Association (VITA), Desmond Casimir,          concession was renewed in 1997, and it expired in 2007
Leo Casimir, Joseph Frederick, Albert Knight, Winston             after two ten-year terms. In 2012, VITA was granted a new
Parker, Kelvin Peters, Jermaine Petty, George Richardson,         concession by a statute that mirrored the 1987 concession.
Benoit Stuart, Vincent Walters, Michael Williams and Julia
Percival, Personal Representative for the Estate of Errol         In 2008, Griffiths entered an appearance in the District
Percival, Appellants in No. 15-3496                               Court of the Virgin Islands on behalf of VITA in an action

Kerry Harrigan, Dr. Thomas E. Donoghue, as the Personal           against the VI Port Authority. 1 Griffiths was directed to
Representative of Patrick Roach, Junior Richardson and            file the lawsuit by a litigation committee created by VITA’s
Stetson Richardson, Appellants in No. 15-3497                     nine-member board. Allegedly, the litigation committee was
                                                                  created after certain VITA board members with business ties
Terri L. Griffiths, Esq. (Argued) P.O. Box 8647 St. Thomas,       to the defendants leaked materials related to the District Court
VI 00801 Counsel for Appellants in No 15-1406                     action. The amended complaint names six board members
                                                                  of VITA as defendants. Another attorney, Lee Rohn, was
Before: * FISHER, KRAUSE and ROTH, Circuit Judges                 brought on as co-counsel at the time the lawsuit was filed.
                                                                  In 2009, the case was stayed, pending a determination as to
                                                                  whether Griffiths was authorized to bring a lawsuit on behalf
                        OPINION **                                of VITA.

ROTH, Circuit Judge                                               A VITA corporate resolution dated March 2, 2015, stated that
                                                                  Griffiths had withdrawn from representation and that VITA
Attorneys representing the Virgin Islands Taxi Association        would retain Rohn as legal counsel for the District Court
(VITA) and sixty-seven individual taxi drivers brought an         case. The same resolution also sought to ratify the litigation
 *210 action in the District Court of the Virgin Islands          committee’s grant of authorization to file the District Court
against the Virgin Islands Port Authority and various other       case. On March 30, the District Court held oral argument on
defendants, including hotels and another taxi company, for        the issue of whether the lawsuit had been properly authorized.
violating the exclusive taxi concession at Cyril E. King          Rohn submitted an appearance on behalf of VITA and three
Airport on St. Thomas. The District Court dismissed VITA’s        individual plaintiffs. Following oral argument, the District
claims and the claims of three individual drivers because         Court dismissed all claims. Rohn appeals on behalf of VITA
the attorneys lacked authorization to file suit on behalf of      and twelve individually named plaintiffs, while Griffiths
VITA or the drivers, while the claims of the remaining drivers    appeals on behalf of four individually named plaintiffs.
were dismissed for failure to prosecute. As this dismissal was
being adjudicated by the District Court, Terri Griffiths, one
of VITA’s attorneys, appealed an order denying her motion
to withdraw as counsel. We will affirm the District Court’s                                    II. 2
dismissal of all claims, and we will consequently dismiss



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On appeal, Rohn argues that the District Court erred in               the business and affairs of the corporation,” and that such
determining that she and Griffiths did not have authority to          authority may be express or implied. 6 The District Court
file suit on behalf of VITA and three of the individually             concluded that Schoonejongen involved an application of
named plaintiffs. Both Rohn and Griffiths further argue that          Delaware corporate law, rather than Virgin Islands corporate
the District *211 Court erred in dismissing the remaining             law, and as such was inapplicable if Virgin Islands law
plaintiffs’ claims for failure to prosecute.                          commanded a different result. We find the District Court’s
                                                                      analysis persuasive, as it relied on existing Virgin Islands law
                                                                      in rendering its conclusion that corporate authority may only
                               A.                                     be delegated to a properly-formed committee. Because the
                                                                      litigation committee was not properly vested with authority
We will first address whether dismissal of VITA’s claims, as          to act on VITA’s behalf, it did not have authority, whether
well as the claims of the three individually named plaintiffs,        express or implied, to initiate the Federal litigation.
was proper. We interpret the District Court’s dismissal of
VITA’s and the three individual plaintiffs’ claims as a               The District Court also determined that VITA’s board had not
dismissal for lack of standing. Our review over questions of          otherwise authorized this action. This conclusion was based
standing is plenary. 3                                                on, inter alia, the fact that six of the board’s nine members
                                                                      were named as defendants in the amended complaint, a lack of
In dismissing VITA’s claims, the District Court made three            any board minutes evincing authorization, and a repudiation
determinations: first, that the litigation committee did not          of the District Court action by the board’s president *212
have authority to direct Griffiths to file a lawsuit in 2008;         shortly after the action had been filed. Without any evidence
second, that VITA did not otherwise authorize the suit at the         that could reasonably support the conclusion that VITA’s
time it was filed; and third, that any attempts by VITA to ratify     board authorized this action, we agree that VITA’s board did
the District Court litigation were either improper or untimely.       not independently authorize the filing of this suit.

Both parties agree that Virgin Islands corporate law governs          Lastly, the District Court concluded that any attempts to
this case. While plaintiffs argue that Virgin Island law is           ratify the decision to file the District Court action were either
unresolved on the question of authority to engage in litigation,      untimely or improper. Finding no applicable Virgin Islands
we agree with the District Court that the statute makes               law on ratification, the District Court properly relied on FEC
clear that “every corporation” is “managed by a board of              v. NRA Political Victory Fund, where the Supreme Court
directors,” unless otherwise provided by the statute or the           held that ratification, which is governed by principles of
                                                                      agency law, requires “that the party ratifying ... be able not
corporation’s articles of incorporation. 4 And, as the District
                                                                      merely to do the act ratified at the time the act was done,
Court explained, 13 V.I.C. § 65 permits the delegation to
a committee of powers reserved to the board of directors              but also at the time the ratification was made.” 7 VITA’s
provided that the committee is formed pursuant to a board             claims are all premised on harms that accrued in 2007 at
resolution, consists of at least two members of the board,            the latest—nearly eight years prior to the ratification attempt,
and otherwise conforms to any additional requirements in              and beyond the statutes of limitations of each of VITA’s
the corporation’s bylaws or the resolution itself. 5 One of           claims, the longest of which is six years. 8 Following NRA
VITA’s bylaws requires that a properly formed committee               Political Victory Fund, 9 the District Court determined that
consist of at least three board members. Because the litigation       VITA’s attempt in March 2015 to ratify this suit came too
committee was not formed by a board resolution, in violation          late to be effective. An earlier alleged attempt at ratification
of 13 V.I.C. § 65, and included only two board members,               —occurring in July, 2010—mentioned only the re-hiring of
in violation of VITA’s bylaws, the District Court concluded           Griffiths as VITA’s attorney, without explicitly mentioning
the committee could not act on VITA’s behalf. Rohn, on                this lawsuit. We find the District Court’s application of the
VITA’s behalf, argues that adherence to corporate formalities         Restatement appropriate in the case at hand, and accordingly
is not the only means through which a corporation may                 we adopt its conclusion that any attempts at ratification were
delegate authority. In support, she cites to a case of this Court,    either untimely or improper. We will therefore affirm the
Schoonejongen v. Curtiss-Wright Corp., where we held that a           dismissal of VITA’s claims.
corporate board “may freely delegate the authority to manage



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                                                                                or the attorney was willful or in
Three of the individually named plaintiffs had their claims
                                                                                bad faith; (5) the effectiveness of
dismissed for much the same reason that VITA’s claims were
                                                                                sanctions other than dismissal, which
dismissed: Rohn and Griffiths had no records from these
                                                                                entails an analysis of *213 alternative
plaintiffs that they had authorized the suit at the time it was
                                                                                sanctions; and (6) the meritoriousness
filed, and their subsequent attempts to ratify the suit came
too late to be effective. Given that the retainer agreements                    of the claim or defense. 11
Rohn submitted were dated between February 7 and March
2, 2015, and no evidence of authorization to bring suit at the
time the action was commenced was produced, we will affirm         The District Court gave thorough consideration to the Poulis
the dismissal of these claims as well.                             factors, noting specifically that all but three of the individual
                                                                   plaintiffs had not appeared before the court or provided any
                                                                   indication of their desire to continue the action. The District
                                                                   Court further noted that, even without applying the Poulis
                              B.
                                                                   factors, the individual plaintiffs’ failures to comply with the
We next turn to the District Court’s dismissal of the remaining    court’s orders would make dismissal appropriate because
plaintiffs’ claims for failure to prosecute. We review this        adjudication of the case had become impossible. The District
dismissal for abuse of discretion. 10                              Court’s analysis on these issues was exhaustive, and therefore
                                                                   we find no abuse of discretion.
Before dismissing a case for failure to prosecute, a court must
consider and balance the factors identified by this Court in
Poulis v. State Farm Fire & Casualty Co.:                                                        III.

                                                                   For the reasons set forth above, we will affirm the order
                                                                   of the District Court. Additionally, we will dismiss as moot
             (1) the extent of the party’s personal                Griffiths’ appeal of her motion to withdraw as counsel.
             responsibility; (2) the prejudice to the
             adversary caused by the failure to
                                                                   All Citations
             meet scheduling orders and respond to
             discovery; (3) a history of dilatoriness;
                                                                   684 Fed.Appx. 207
             (4) whether the conduct of the party




                                                          Footnotes


*      The Honorable D. Michael Fisher assumed senior status on February 1, 2017.
**     This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not constitute binding
       precedent.
1      A lawsuit based on the same facts was filed in Virgin Islands Superior Court in 1997. Those proceedings
       have been stayed pending a resolution in this case.
2      The District Court had jurisdiction pursuant to 28 U.S.C. § 1331, and we have jurisdiction pursuant to 28
       U.S.C. § 1291.
3      Miller v. Rite Aid Corp., 334 F.3d 335, 340 (3d Cir. 2003).
4      13 V.I.C. § 61.
5      13 V.I.C. § 65.
6      143 F.3d 120, 127 (3d Cir. 1998).
7      513 U.S. 88, 98, 115 S.Ct. 537, 130 L.Ed.2d 439 (1994).
8      5 V.I.C. § 31(3)(A) (imposing a six year statute of limitations for a breach of contract claim).



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9     513 U.S. at 98, 115 S.Ct. 537 (explaining that where “an act to be effective in creating a right against another
      or to deprive him of a right must be performed before a specific time, an affirmance is not effective against
      the other unless made before such time” (quoting Restatement (Second) of Agency § 90)).
10    Spain v. Gallegos, 26 F.3d 439, 454 n.17 (3d Cir. 1994).
11    747 F.2d 863, 868 (3d Cir. 1984) (emphasis removed).


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                                                                    First Telebanc Corp., 834 So. 2d 944 (Fla. 4th DCA 2003).
                                                                    The parties do not dispute the facts as set forth by that court:
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    Only the Westlaw citation is currently available.                 This complex case involves two groups of investors
      United States District Court, S.D. Florida.                     battling for control of Net First National Bank (“the Bank”)
                                                                      and the Bank's sole shareholder, First Telebanc Corporation
         FIRST TELEBANC CORP., a/k/a Net
                                                                      (“the holding company”). The events leading to the present
         First Financial Corporation, Plaintiff,
                                                                      rift in leadership began in January 1999, when the directors
                           v.
                                                                      of the Bank appointed Keith Duffy to fill a vacant director
      FIRST UNION CORPORATION, Defendant.                             position. Sometime prior to May 2000, the Bank was
                                                                      designated a “troubled institution” under the Financial
       CASE NO: 02-80715-CIV-GOLD/TURNOFF
                                                                      Institutions Reform, Recovery, and Enforcement Act of
                          |
                                                                      1989 (“FIRREA”).
                 Signed 08/06/2007
                                                                      In June 2000, Duffy began acting as president and chief
Attorneys and Law Firms
                                                                      executive officer of the Bank. Throughout this time,
Atlee W. Wampler, III, Wampler Buchanan Walker Chabrow                the Bank experienced increasing financial difficulties,
Banciella & Stanley PA, Pinecrest, FL, Barry Steven                   resulting in a Consent Order and Stipulation between the
Mittelberg, Barry S. Mittelberg, P.A., Coral Springs, FL, J.          Office of the Comptroller of Currency (“OCC”) and the
Stephen Walker, J. Stephen Walker PC, Michael J. Rovell,              Bank. The order gave the OCC increased oversight of the
Rovell & Associates, Chicago, IL, for Plaintiff.                      Bank's business dealings, most importantly a veto power
                                                                      over any proposed senior executive officer.
Karen Jessica Jerome Smith, Groelle & Salmon, Wellington,
FL, Padmavathi Ghanta Hinrichs, Padma Hinrichs, P.A., Palm            Pursuant to FIRREA requirements, Duffy submitted a form
Beach, FL, Susan Fleischner Kornspan, Boca Raton, FL, for             914 Notice to the OCC detailing his qualifications for
Defendant.                                                            his senior executive and director positions with the Bank.
                                                                      Duffy was later interviewed, and the OCC declined to grant
                                                                      him authority to act as a senior executive of the Bank,
   ORDER GRANTING DEFENDANT'S MOTION                                  stating that he did not have sufficient experience to hold a
   FOR SUMMARY JUDGMENT: CLOSING CASE                                 leadership position in a “problem bank.” The OCC did not
                                                                      object at that time to Duffy's continuing as a director.
THE HONORABLE ALAN S. GOLD, UNITED STATES
DISTRICT JUDGE                                                        In February 2001, however, the OCC nullified its non-
                                                                      objection to Duffy serving as director. In a five-page
 *1 This cause comes before the Court on Defendant First              letter, the OCC detailed material misrepresentations and
Union’s Motion for Summary Judgment [DE 35] and its                   omissions Duffy made in the biographical portion of his
Supplemental Motion for Summary Judgment [DE 79]. I                   914 application and his interview. The OCC found that
have reviewed the Motions, the Plaintiff’s Responses, and             Duffy gave a false answer and omitted material information
the Defendant’s Replies, and I have heard argument from               regarding his past involvement with a state-chartered bank,
the parties. In addition, I have reviewed all exhibits and            then continued to misrepresent facts and give inconsistent
supplemental filings of the parties. Upon consideration of the        explanations in subsequent documents and his interview.
record in this case, in light of the relevant legal standards and
case law, I grant summary judgment in favor of First Union.           At the center of Duffy's misrepresentations to the OCC was
                                                                      his past involvement with a state-chartered bank. Duffy
                                                                      failed to disclose that his application to serve as president
                                                                      of the state bank was disapproved by Florida’s Department
                   I. Factual Background                              of Banking and Finance, Duffy also failed to disclose that
                                                                      after disapproval, he continued to serve as president of
The early background of this case was set forth by Florida’s
                                                                      the state bank, in violation of the Department’s numerous
Fourth District Court of Appeals in Net First Nat'l Bank v.
                                                                      demands that he step down. The state bank was in poor
                                                                      financial condition and under a cease and desist order


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  from the State Comptroller when Duffy arrived, and it
  deteriorated further during his tenure, with criticism of his      3. Defendants, and anyone acting in concert with
  performance including “inappropriate insider transactions          Defendants, are enjoined from interfering in any way with
  involving Duffy-related companies, a number of violations          the access of Duffy or Groves to the corporate funds,
  of laws, and continued noncompliance with the cease and            records, or offices of [the holding company].
  desist order.” As a result, the OCC withdrew its approval
                                                                     4. [The holding company], Duffy and Groves shall, within
  for Duffy to have any connection with Bank leadership.
                                                                     60 days, call an annual meeting, at which meeting the
   *2 In September 2000, the Federal Reserve Bank notified           shareholders of [the holding company] shall elect directors
  the board of the holding company that the OCC decision             as required by the Articles of Incorporation and Bylaws of
  not only precluded Duffy from serving as a director of             [the holding company].
  the Bank, but governed his actions as a director of the
                                                                     5. L. Pugliese, Rossilli, Connors, and Pasley are hereby
  holding company as well. The Federal Reserve warned
                                                                     enjoined from acting as directors of Net First National
  that “holding company board of directors' minutes should
                                                                     Bank.
  clearly note Mr. Duffy's abstention from all policymaking
  decisions regarding the bank.” Several months later, in May        6. Plaintiffs shall file an injunction bond in the amount of $
  2001, the holding company elected six directors of the             250,000.00 within 72 hours of the entry of this Order or the
  Bank. They included Duffy, Randall Rossilli, and Laura             injunction set forth herein shall be immediately dissolved.
  Pugliese, with Duffy's directorship subject to the outcome
  of a pending appeal of the OCC nullification. The OCC            Id. at 948-49. Less than one month after the trial court issued
  responded by advising the Bank's directors that “Mr. Duffy       the injunction, the OCC closed the Bank and named the
  may not participate in the affairs of the bank or otherwise      Federal Deposit Insurance Corporation (“FDIC”) receiver. Id.
  act as an ‘institution affiliated party’ in board meetings or    at 949.
  under any other circumstances,” and that such participation
  subjected other directors to civil penalties. Duffy's appeal     The case was appealed, and came before Florida’s Fourth
  of the OCC nullification was resolved against him.               District Court of Appeals. The court reversed the trial court,
                                                                   and lifted the injunction. In its decision, the court made
Id. at 946-47. The controversy continued. As of September,         various findings of fact. Notable among those findings was
2001, the holding company board consisted of Duffy,                the fact that Duffy did not have the legal right to act as he did
Rosselli, and Bradley Groves. Id. at 947. Over the next            regarding the makeup of the board:
several months, numerous board meetings and shareholder
meetings were held; new board members were appointed,                Duffy was precluded from any leadership role in the Bank
and ultimately the shareholders voted to remove Duffy and            because of material misrepresentations and omissions
Groves from the board, and elect a new slate of board                made to the OCC, but at the injunction hearing he described
members. Id. Duffy led a group of Plaintiffs who filed suit          himself as the Bank president. The picture that emerges
against both the bank and the holding company, seeking               from these facts is not that the Plaintiffs had a substantial
temporary injunctions to stop the shareholders from removing         likelihood of success on the merits or a clear legal right to
him from the board. After several unsuccessful attempts,             injunctive relief.
Duffy succeeded in gaining the injunction. Id. at 948. The trial
                                                                     ***
court ordered as follows:
                                                                     Not only does Pugliese's potential status as a director of the
  1. Defendants, and anyone acting in concert with
                                                                     holding company cast doubt on Duffy and Groves's actions
  Defendants, are enjoined in any way from acting in any
                                                                     at the November 20 meeting, Duffy acted beyond his legal
  official capacity on behalf of [the holding company], as
                                                                     capacity in voting on policy decisions affecting the Bank.
  director or otherwise.
                                                                   Id. at 949-50.
  2. Defendants, and anyone acting in concert with
  Defendants, are enjoined from interfering with Duffy and
                                                                   While the state court case between Duffy, the bank, and
  Groves' performing their duties as the lawful Board of
                                                                   the holding company was ongoing, the Plaintiff in this
  Directors of [the holding company].
                                                                   case, First Telebanc, filed suit against First Union Bank in


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state court. First Union removed the case to the Southern
District of Florida based on diversity jurisdiction on July 30,       We are therefore demanding that the pending action be
2002. [DE 1]. First Telebanc had three claims against First           dismissed. We further demand that you provide this office
Union: breach of contract, negligent misrepresentation, and           with a list of any and all action of which you are aware
fraudulent inducement. The case was at the time assigned to           which are being prosecuted or defended by First Telebanc,
the Honorable Wilkie Ferguson; he adopted the Report and              and that you take no further action in those lawsuits without
Recommendation of Magistrate Judge Snow, and dismissed                first consulting with this office.
Counts II and III of the Complaint. [DE 32]. Only the breach
                                                                    One month later, on April 9, 2003, First Union filed a motion
of contract claim remained.
                                                                    for summary judgment against First Telebanc. [DE 35]. The
                                                                    basis of the motion was that the lawsuit had been initiated
 *3 On February 27, 2003, First Union filed a motion to stay
                                                                    by Duffy on behalf of the bank, and that Duffy had no legal
the case, on the grounds that it had learned of the decision
                                                                    authority to act on behalf of the bank. At about the same time,
entered by the Fourth District Court of Appeals cited above.
                                                                    the board of directors of First Telebanc moved to intervene in
[DE 24]. In its motion, First Union requested that the case be
                                                                    the action between Duffy and First Union, claiming that Duffy
stayed until it was able to file a motion for summary judgment
                                                                    lacked authority to pursue the action on the bank’s behalf.
against First Telebanc. First Union attached to its motion a
letter from counsel for the board of directors of First Telebanc.
                                                                    On May 22, 2003, the case was reassigned to me. [DE
The letter states, in relevant part, as follows:
                                                                    45], Shortly thereafter, Magistrate Judge Snow issued a
  As you are aware, we represent the Appellants in the appeal       report and recommendation that First Union’s motion for
                                                                    stay be granted. I adopted the report and recommendation,
  in which the 4 th DCA has recently issued an opinion
                                                                    and set oral argument on First Union’s motion for summary
  and Mandate. (See copies enclosed). In summary, the
                                                                    judgment. [DE 55, 60]. On August 15, 2003, I heard oral
  opinion overturns Judge Wessel's preliminary injunction in
                                                                    argument on the motion for summary judgment. At that
  its entirety, and contains significant findings regarding your
                                                                    argument, the parties argued that the case should be stayed
  clients (Mr. Duffy in particular) and their position vis a
                                                                    pending the outcome of the state case still ongoing in the
  vis First Telebanc. While we understand that the Appellees
                                                                    Fifteenth Judicial Circuit, Palm Beach County. That case
  are trying to obtain rehearing in this matter, the Mandate
                                                                    involved decisions required by the Fourth District Court of
  is in effect and as a result, our clients are the ones who
                                                                    Appeals' remand to the state court to determine who legally
  have authority to undertake actions on behalf of Net First
                                                                    comprised the board of directors of First Telebanc. I decided
  Financial (“former bank holding company), including the
                                                                    that the most prudent course of action was to stay the case
  commencement of prosecution of litigation. We are aware
                                                                    pending a decision by the state court, to avoid the possibility
  of at least two legal actions filed by your firm on behalf of
                                                                    of conflicting findings between the two courts. [DE 66], First
  former bank holding company. These include a legal action
                                                                    Union moved for reconsideration of the order, which I denied,
  against First Union (now “Wachovia”) related to the sale of
                                                                    finding that First Union would suffer no prejudice from the
  Boca Raton National Bank.
                                                                    stay. The case was therefore stayed pending the outcome of
  Our clients believe that any such action is baseless,             the state court case. [DE 68].
  frivolous and without merit and is designed to cover
  the negligence of Mr. Duffy and his various counsel in             *4 On December 4, 2006, First Telebanc moved to reopen
  failing to properly operate/represent the bank after its          the case, as the state court case was closed. [DE 69]. First
  acquisition, failing to initially structure the transaction and   Telebanc informed this Court that the parties to the state court
  closing documents properly, failure to complete a proper          case had settled the matter, and in the settlement had agreed
  due diligence and understand the regulatory “status” of           that
  the bank during the period of ownership by First Union
  as opposed to it operating as a stand along entity post-
  closing, and other matters which would preclude any claim                      With respect to the past business
  against this entity. Regardless, it is my client’s belief that                 affairs of the Company (i.e. First
  no claim exists or should be pursued against First Union/                      Telebanc), the Board of Directors of
  Wachovia and that any pending action in this regard should                     First Telebanc were Duffy, Groves,
  be dismissed.                                                                  and Rosselli. Further, the Company


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             and specifically Duffy, on behalf of
             the Company, had the authority to                     In its response, First Telebanc does not dispute the existence
             file and pursue the lawsuit filed by                  of the Net First Nat'l Bank v. First Telebanc Corp. case, nor
             the Company against Wachovia Bank                     the existence of the Rossilli affidavit. First Telebanc relies
             f/k/a First Union National Bank ...                   upon the settlement agreement in the state court case, in which
             All parties acknowledge that from this                the parties agreed that Duffy and Groves, and Rossilli were
             point forward, Duffy and Groves are                   the only members of Telebanc’s board of directors at times
             the only Directors of the Company.                    material to this litigation. First Union does not dispute the
                                                                   existence of the settlement agreement: only its legal effect.

First Telebanc argued that the
                                                                                  II. LEGAL STANDARD FOR
                                                                                    SUMMARY JUDGMENT
             [d]isposition of state court proceedings
             in Palm Beach County Circuit                          Rule 56(c) of the Federal Rules of Civil Procedure authorizes
             Court as outlined above establishes                   summary judgment when the pleadings and supporting
             unequivocally that at all times material              materials show that there is no genuine issue as to any material
             to this case, Keith Duffy had the                     fact and that the moving party is entitled to judgment as a
             authority to act on behalf of First                   matter of law. See Anderson v. Liberty Lobby, Inc., 477 U.S.
             Telebanc in regard to the filing                      242, 248, 106 S.Ct. 2505, 2510 (1986). The court’s focus
             and prosecution of First Telebanc’s                   in reviewing a motion for summary judgment is “whether
             complaint against First Union Corp.                   the evidence presents a sufficient disagreement to require
                                                                   submission to a jury or whether it is so one-sided that one
                                                                   party must prevail as a matter of law.” Anderson, 477 U.S. at
[DE 69].                                                           252, 106 S.Ct. at 2512; Bishop v. Birmingham Police Dep't,
                                                                   361 F.3d 607, 609 (11th Cir. 2004).
First Union responded, arguing that the case should not be
reopened, because no judicial determination had been made           *5 The moving party bears the initial burden under Rule
regarding the makeup of the board of directors, which was          56(c) of demonstrating the absence of a genuine issue of
a condition precedent to reopening the case. Alternatively,        material fact. Allen v. Tyson Foods, Inc., 121 F.3d 642, 646
First Union argued that its motion for summary judgment            (11th Cir. 1997). Once the moving party satisfies this burden,
should be granted for the same reasons earlier argued: that        the burden shifts to the party opposing the motion to go
Duffy did not have the authority to litigate the case on behalf    beyond the pleadings and designate “specific facts showing
of First Telebanc. [DE 70]. On January 16, 2007, I granted         that there is a genuine issue for trial.” Celotex v. Catrett, 477
First Telebanc’s motion to reopen the case, and set a briefing     U.S. 317, 324, 106 S.Ct. 2548, 2553 (1986). A factual dispute
schedule for First Union's renewed motion for summary              is genuine only if the evidence is such that a reasonable
judgment. [DE 78]. In its supplemental motion for summary          fact finder could return a verdict for the non-moving party.
judgment, First Union argues that summary should be granted        Anderson, 477 U.S. at 248; Denney v. City of Albany, 247 F.3d
on the grounds that Duffy did not have the authority to            1172, 1181 (11th Cir. 2001).
pursue claims against it on behalf of First Telebanc. First
Union points to the decision by the Fourth District Court          In assessing whether the movant has met its burden, the
of Appeals in Net First Nat'l Bank v. First Telebanc Corp.,        court should view the evidence in the light most favorable
834 So. 2d 944 (Fla. 4th DCA 2003), and the findings of            to the party opposing the motion and should resolve all
fact contained therein, as described above. First Union also       reasonable doubts about the facts in favor of the non-moving
points to the January 10, 2002 affidavit of Randall R. Rossilli,   party. Denney, 247 F.3d at 1181. In determining whether
in which he states that on December 18, 2001, a special            to grant summary judgment, the court must remember that
shareholder's meeting was held, in which Duffy and Groves          “[c]redibility determinations, the weighing of the evidence,
were unanimously removed from First Telebanc’s Board of            and the drawing of legitimate inferences from the facts are
Directors.


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jury functions, not those of a judge.” Anderson, 477 U.S. at       (Duffy Affidavit, DE 35, p. 187). 1 He also provided no
255.                                                               evidence that the Board of Directors authorized the initial
                                                                   filing of the lawsuit. Under Florida law, therefore, Duffy did
Upon review of the record and the parties' arguments, I grant      not have authority to initiate the lawsuit unless the articles of
First Union’s motion for summary judgment.                         incorporation or the bylaws of the corporation conferred such
                                                                   authority upon him. However, neither the company's articles
                                                                   of incorporation nor its bylaws confer such authority upon
                         III. Analysis                             the President or CEO. Pursuant to First Telebanc's Articles of
                                                                   Incorporation, all corporate powers are vested in the Board
Several issues must be addressed to determine whether              of Directors:
summary judgment should be granted in favor of First Union:
(1) whether Duffy had the authority to act on behalf of
First Telebanc when he initiated this lawsuit; (2) whether                       *6 The business and affairs of
the settlement agreement regarding Duffy’s authority creates                    the Corporation shall be managed
retroactive authority for Duffy; (3) whether the subsequent                     by or under the direction of the
ratification by the Board of Directors of Duffy’s authority                     Board of Directors. In addition to
creates retroactive authority for Duffy; (4) whether the second                 the powers and authority expressly
ratification by the Board creates retroactive authority for                     conferred upon them by the Florida
Duffy; (5) whether First Union has standing to assert Duffy’s                   Statutes or by these Articles of
lack of authority. I will address each issue in turn.                           Incorporation or the Bylaws of the
                                                                                Corporation, the directors are hereby
                                                                                empowered to exercise all such powers
A. Whether Duffy had the authority to act on behalf of
                                                                                and do all such acts as may be
First Telebanc when he initiated this lawsuit
                                                                                exercised or done by the corporation.
   1. Duffy lacked authority as President and CEO
First Union argues that Duffy did not have the authority to file
this lawsuit on behalf of the bank. In support of this position,   Similarly, the Bylaws vest all power with the Board of
First Union cites to Florida statutes and case law which hold      Directors:
that only the directors of a corporation have the power to
manage the business affairs of a corporation-including the
power to bring a lawsuit-unless the articles of incorporation or                All corporation powers shall be
bylaws provide otherwise. See Fla. Stat. § 607.0801(2)(“AII                     exercised by or under the authority
corporate powers shall be exercised by or under the authority                   of the Board of Directors, and
of, and the business and affairs of the corporation managed                     the business and affairs of this
under the direction of, its board of directors, subject to                      Corporation shall be managed under
any limitation set forth in the articles of incorporation or                    the direction of the Board of Directors.
in an agreement authorized under s. 607.0732”); Fla. Stat.
§ 607.0206(2) (“The bylaws of a corporation may contain
any provision for managing the business and regulating the
                                                                   As noted above, First Telebanc has provided no evidence that
affairs of the corporation that is not inconsistent with law
                                                                   the Board of Directors ever approved the filing of this lawsuit
or the articles of incorporation”); Citizens National Bank of
                                                                   against First Union. In fact, the only evidence as to whether
St. Petersberg v. Peters, 175 So. 2d 54, 56 (Fla. 2d DCA
                                                                   the Board approved the action shows the opposite; the letter
1965)(“The corporation law of this State vests in directors the
                                                                   from the Board’s counsel expressly directs Duffy to dismiss
management of the corporate business”).
                                                                   the action, because the Board had determined that the case
                                                                   was “baseless, frivolous, and without merit.” (DE 81-2). In
In this action, Duffy has stated by way of affidavit that he
                                                                   accordance with Florida law and First Telebanc’s Articles of
initiated this lawsuit in his capacity as President of First
                                                                   Incorporation and its Bylaws, Duffy acted without authority
Telebanc Corporation: not as a director of the corporation.
                                                                   in his initiation of this lawsuit against First Union.



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                                                                   any leadership role in the Bank because of material
                                                                   misrepresentations and omissions made to the OCC ... Duffy
   2. Duffy lacked authority due to the mandate of the             acted beyond his legal capacity in voting on policy decisions
   OCC                                                             affecting the Bank.” Net First Nat'l Bank v. First Telebanc
Notably, First Telebanc fails to address, in any fashion, the      Corp., 834 So. 2d 944, 949-950. (Fla. 4th DCA 2003). The
determination by the Office of the Comptroller of Currency         court further found that “The ultimate effect of the injunction
(“OCC”) that Duffy was prohibited from participating in the        was to wrest physical control of the Bank and its assets from
affairs of the bank. As discussed above, the OCC expressly         Defendants and hand it to Duffy, when Duffy was precluded
held that “Mr. Duffy may not participate in the affairs of the     by federal authority from participating in running the Bank,
bank or otherwise act as an ‘institution affiliated party’ in      at the Bank level and the holding company level.” Id. at 949.
board meetings or under any other circumstances.” As the
Fourth District Court of Appeals held, this decision by the         *7 Neither of the parties have raised the issue of whether
OCC precluded Duffy from having any legal right to seek            collateral estoppel or the doctrine of the law of the case
relief on behalf of the bank.                                      prevents this Court from considering the issue of Duffy’s legal
                                                                   authority to act on behalf of First Telebanc in the wake of
During oral argument, First Telebanc argued that Duffy was         the Fourth District’s opinion. However, I need not raise that
not acting on behalf of the bank itself, but only on behalf of     issue sua sponte, because summary judgment is appropriate
the holding company. The OCC, argues First Telebanc, could
                                                                   for First Union for other reasons. 2
not forbid Duffy to act on behalf of the holding company. This
argument is disingenuous. The holding company had only
one asset: the bank. The affairs of the holding company are           4. Duffy was without authority to initiate the lawsuit
therefore necessarily the affairs of the bank itself. Moreover,    Viewing all of the undisputed facts in the record before me, I
this argument is ineffective for the reasons stated above; i.e.,   must conclude that at the outset of the litigation in this case,
that Duffy, as President and CEO, had no authority to initiate     Duffy had no authority to act on behalf of first Telebanc.
the lawsuit in any event.                                          Duffy was therefore without authority to bring suit on behalf
                                                                   of Telebanc against First Union. First Telebanc has failed to
The OCC is a federal agency charged with regulating banking        raise any genuine issue of fact to refute the fact that the lawsuit
throughout the nation. 12 U.S.C. § 1. “The National Bank           was improperly filed. This case must therefore be dismissed
Act establishes the primacy of the federal government,             unless some future actions conferred retroactive authority
through the Office of the Comptroller of the Currency, as the      upon Duffy such that he could properly file the lawsuit.
regulatory authority over national banks.” Bank of Am., N.A.
v. McCann, 444 F. Supp. 2d 1227, 1231 (N.D. Fla. 2006). The
decision of the OCC was clear that Duffy was precluded from        B. Whether the settlement agreement provided
participating in any fashion with the affairs of First Telebanc.   retroactive authority for Duffy to initiate this lawsuit
He therefore had no authority to initiate the instant lawsuit      First Telebanc argues that the settlement agreement between
against First Union.                                               Duffy, Groves, and Rossilli confirms that Duffy had authority
                                                                   to act on behalf of Telebanc when he originally initiated this
                                                                   lawsuit. In particular, First Telebanc focuses on the portion of
   3. Duffy’s authority to act is barred by the Fourth             the settlement agreement that reads:
   District Court of Appeals' Decision
First Telebanc also fails to acknowledge the effect of the
Fourth District Court of Appeals' opinion. First Telebanc
                                                                                With respect to the past business
claims that the Fourth District Court of Appeals merely
                                                                                affairs of the Company (i.e. First
reversed the preliminary injunction because it found that
                                                                                Telebanc), the Board of Directors of
Duffy did not have a substantial likelihood of success on
                                                                                First Telebanc were Duffy, Groves,
the merits, and made no factual findings as to whether
                                                                                and Rosselli. Further, the Company
or not Duffy had the authority to file suit against the
                                                                                and specifically Duffy, on behalf of
board of directors. First Telebanc is mistaken. The Fourth
                                                                                the Company, had the authority to file
District Court of Appeals did, indeed, make factual findings
                                                                                and pursue the lawsuit filed by the
concerning Duffy’s authority: “Duffy was precluded from


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             Company against Wachovia Bank f/k/                    opposition to First Union’s motion for summary judgment are
             a First Union National Bank.                          two Resolutions by the Board of Directors of First Telebanc:
                                                                   one grants permission to Michael J. Rovell, Esq., to re-
                                                                   open this case and pursue it on behalf of First Telebanc; the
                                                                   other expressly ratifies Duffy’s earlier actions in initiating the
First Union argues that the settlement agreement reached
                                                                   lawsuit on behalf of First Telebanc. These documents were
between the various parties to the state court lawsuit has no
                                                                   executed by Duffy and Groves in October, 2006 and January,
legal effect relevant to a decision in this case. I concur with
                                                                   2007.
First Union. 3
                                                                   There is no question that, under Florida law, a board of
When I originally stayed this case pending the outcome of          directors may ratify the previously unauthorized actions
the decision in the state court as to who comprised the board      of a board member, director, or other office-holder of a
of directors, I was concerned that some holdings in this case      corporation. See Gentry-Futch Co. v. Gentry, 90 Fla. 595,
might conflict with determinations of the state court case.        612 (Fla. 1925)(“While a corporation cannot ratify absolutely
That court, however, never made any judicial determination         void and ultra vires acts, it may, like an individual, ratify
as to who comprised the board. The parties to that case            any act done on its behalf which it had the power to do or
entered into a negotiated settlement, which is not binding         to authorize to be done in the first instance”); Wimbledon
upon this Court, nor binding upon the Defendant in this case,      Townhouse Condominium I, Asso. v. Wolfson, 510 So. 2d
First Union, who was not a party to the state court action.        1106, 1108 (Fla. 4th DCA 1987)(“We also find merit
Upon review of the record, it is clear that the issue of who       in appellant's argument that the board of directors of a
were the members of the board of directors of First Telebanc       condominium association may ratify its prior acts”), citing
at the time of the lawsuit is irrelevant to the question of        Hillsboro Light Towers, Inc. v. Sherrill, 474 So.2d 1219 (Fla.
whether Duffy had the authority to initiated the lawsuit. In       4th DCA 1985); Zinger v. Gattis, 382 So.2d 379 (Fla. 5th
his affidavit, Duffy acknowledged that he, alone, initiated        DCA 1980).
the lawsuit, and there is no dispute between the parties that
Duffy, alone, initiated the lawsuit in this case. Duffy states     First Union argues that Florida law also holds that a board of
in his affidavit that he initiated the lawsuit in his capacity     directors may not ratify unlawful acts. First Union is correct in
and President and CEO of First Telebanc. As discussed              its statement of Florida law, but this alone does not resolve the
above, under Florida law Duffy had no authority to act in          issue. Florida courts have held that a board of directors may
that capacity. Additionally, given the undisputed fact that the    not ratify unlawful acts. See, e.g., Flight Equip. & Eng'g Corp.
OCC-a federal body governing national banks-had prohibited         v. Shelton, 103 So. 2d 615, 621 (Fla. 1958) (“It cannot be
Duffy from acting in connection with First Telebanc in any         disputed that a board of directors of a corporation is without
fashion, the makeup of the board at the time of the lawsuit is     power to ratify that which it cannot do directly or that which it
irrelevant.                                                        could not authorize be done initially. It has no power to ratify
                                                                   a void or illegal act.”); Gentry-Futch Co. v. Gentry, 1925, 90
 *8 The self-serving, negotiated settlement agreement cannot       Fla. 595,106 So. 473 (“a corporation cannot ratify absolutely
retroactively confer authority upon Duffy to file suit when he     void and ultra vires acts”). Other courts, examining basic
was precluded from doing so by virtue of Florida law and the       corporate law principles have similarly held: Wolf v. Frank,
OCC. First Telebanc has failed to raise any issue of material      477 F.2d 467, 477 (5th Cir. 1973); 2A William M. Fletcher,
fact as to whether Duffy had authority to initiate the lawsuit     Encyclopedia of the Law of Private Corporations, § 752
in this case. The undisputed facts show that he clearly did not.   (2000) (noting that, like other cases of agency, a corporation
                                                                   cannot ratify “acts done in violation of law or in contravention
                                                                   of public policy”).
C. Whether the Board’s ratification of Duffy’s action
creates retroactive authority for Duffy to initiate this
                                                                   Applying these principles, First Union argues that under
lawsuit
                                                                   Florida corporations law, Duffy had no power to initiate
First Telebanc takes the position that, assuming arguendo
                                                                   the lawsuit against First Union on behalf of First Telebanc;
Duffy did not have the authority to initiate this lawsuit,
                                                                   therefore, it argues, the board of directors cannot subsequently
the subsequent ratification of the lawsuit by the Board of
                                                                   ratify Duffy’s unlawful act. First Union’s position has some
Directors endows him with such authority. Attached to its


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merit. Duffy was proscribed by the OCC from participating           statute of limitations. 5 The original Complaint was filed on
in any actions on behalf of the bank. His initiation of the         June 5, 2002, alleging a breach of contract. The allegations in
lawsuit, therefore, could be seen as unlawful, in the sense that    the Complaint make clear that the alleged breach occurred on
he lacked lawful authority to initiate the suit. 4                  September 9, 1997, when First Union allegedly failed to make
                                                                    certain disclosures to First Telebanc regarding the financial
 *9 However, the law is clear that a board may ratify any           soundness of the bank sought to be acquired by First Telebanc.
act which it could have originally authorized. As the Florida
Supreme Court stated in Gentry-Futch, “While a corporation          Under Florida law, the statute of limitations on a breach
cannot ratify absolutely void and ultra vires acts, it may, like    of contract action is five years. Fla. Stat. § 95.11(1)(b).
an individual, ratify any act done on its behalf which it had the   If the cause of action accrued on September 9, 1997, the
power to do or to authorize to be done in the first instance.”      statute of limitations to bring that cause of action expired on
Gentry-Futch, 90 Fla. at 612. In this case, while the board         September 9, 2002. See Medical Jet, S.A. v. Signature Flight
of directors may not have been able to authorize Duffy to           Support-Palm Beach, Inc., 941 So. 2d 576, 578 (Fla. 4th DCA
initiate the lawsuit, the board could have initiated the lawsuit    2006)(“For a breach of contract action, it is well established
itself. In accordance with Florida law, therefore, the board        that a statute of limitations runs from the time of the breach,
may subsequently ratify the filing of the lawsuit.                  although no damage occurs until later”).

Notwithstanding the board’s theoretical ability to ratify the        *10 While ratification of an unauthorized act may relate
initiation of the lawsuit, problems remain given the facts of       back to the original act, such ratification will only relate back
this case. First Union points out that the attempted ratification   if the rights of third parties have not been affected in the
fails as a matter of law under First Telebanc’s Articles            interim:
of Incorporation. The Articles mandate that the “Board of
Directors of the Corporation shall be comprised of not less
than three (3) nor more than fifteen (15) directors.” [DE 35,                    A corporation, like an individual,
Exhibit B to Exhibit 4]. The Resolution by the Board, attached                   may ratify and thereby render binding
in support of First Telebanc's opposition to First Union’s                       upon it the originally unauthorized
motion for summary judgment, is signed by only two Board                         acts of its officers or other agents.
members, and indeed makes clear that the Board consists of                       [T]he ratification of an act done by
only two members. Without three members, the Board does                          a previously unauthorized officer or
not comply with First Telebanc’s Articles of Incorporation,                      agent is, unless rights of third persons
and therefore cannot take any authorized action.                                 have intervened, equivalent to a prior
                                                                                 authority and relates back and supplies
Moreover, of the two board members ratifying Duffy's action,                     the authority to do such an act.
one is Duffy himself, who was proscribed by the OCC from
acting as a director. In Wolf v. Frank, 477 F.2d 467, 477 (5th
Cir. 1973), the Fifth Circuit, applying Florida corporations        Boyce v. Chemical Plastics, Inc., 175 F.2d 839, 842 (8th Cir.
law, stated that “We also recognize the general rule that           1949)(citations and ellipses omitted). In this case, the rights
‘ratification can never be made on the part of the corporation      First Union have been affected: specifically, its right to be free
by the same persons who wrongfully assume the power to              from suit under the statute of limitations.
make the contract,’ ” citing Flight Equipment & Engineering
Corp. v. Shelton, 103 So.2d 615, 621 (1958).                        The United States Supreme Court explained the limitations of
                                                                    a party’s ability to ratify the acts of its agent:
Viewing all evidence in the record in the light most favorable
to First Telebanc, I can only conclude that First Telebanc has        If an act to be effective in creating a right against another
not raised a genuine issue of material fact to demonstrate that       or to deprive him of a right must be performed before a
ratification in this case has any effect.                             specific time, an affirmance is not effective against the
                                                                      other unless made before such time.... “The bringing of
First Union further argues that the ratification of January 24,       an action, or of an appeal, by a purported agent can not
2007 is ineffective because the cause of action is barred by the      be ratified after the cause of action or right to appeal has



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  been terminated by lapse of time”. Though in a different            However, as First Union correctly argues, this new ratification
  context, we have recognized the rationale behind this rule:         attempt is also legally invalid.
  “The intervening rights of third persons cannot be defeated
  by the ratification. In other words, it is essential that the       As First Union points out, First Telebanc’s new filings are
  party ratifying should be able not merely to do the act             both unsworn and untimely. The Eleventh Circuit has stated
  ratified at the time the act was done, but also at the time the     that “only ‘pleadings, depositions, answers to interrogatories,
  ratification was made”                                              and admissions of file, together with affidavits, can be
                                                                      considered by the district court in reviewing a summary
FEC v. NRA Political Victory Fund, 513 U.S. 88, 98 (U.S.              judgment motion.” Carr v. Tatangelo, 338 F.3d 1259, 1273
1994)(emphasis in original). Thus, ratification attempted after       (11th Cir. 2003). First Telebanc’s newly filed Resolution of
the statute of limitations has run on a cause of action is            the Board fits into none of these categories. Instead, it is
ineffective. See Town of Nasewaupee bay v. City of Sturgeon           an unsworn document filed after the motion for summary
Bay, 251 N.W.2d 845 (Wis. 1977)(dismissing complaint                  judgment was fully briefed, and after oral argument was held.
where boards' attempted ratification of unauthorized but              Fed. R. Civ. P. 56(c) provides that” [t]he adverse party prior
timely commencement of lawsuit came after statute of                  to the day of hearing may serve opposing affidavits.” Clearly,
limitations had run); Miernicki v. Duluth Curling Club, 699           this latest Resolution is not an affidavit, nor was it filed prior
N.W.2d 787 (Minn. App. 2005)(granting summary judgment                to the day of the hearing.
where attempted ratification occurred after expiration of
statute of limitations).                                              It appears that First Telebanc is attempting to cure its
                                                                      earlier papers, whose deficiencies were made clear during
To permit ratification after a statute of limitations has expired     oral argument. For First Telebanc to attempt to change the
would be to render the limitations periods meaningless. As            record at this late stage appears to be merely a last ditch
First Union argues, were a party to have the unilateral power         effort to avoid summary judgment. Such a filing is not in
to retroactively ratify its agent’s actions years after their         accordance with the Rules of Federal Procedure, and need not
occurrence, a defendant could be exposed to liability for an          be considered by this Court.
indefinite period of time. Limitations are designed to prevent
precisely that type of prolonged exposure to suit.                    However, even if I were to consider the effect of this latest
                                                                      attempt at ratification, I would find that it fails as a matter of
In this case, while the Board of Directors could have initiated       law. This new ratification is ineffective on the grounds that
the lawsuit in 2002, it could not now initiate the lawsuit            the statute of limitations has expired on this breach of contract
because the statute of limitations is long since passed. The          action. As discussed above, the January, 2007 ratification was
ratification is therefore ineffective, and fails to create an issue   invalid as time-barred; this new June, 2007 ratification is
of material fact in this case. Duffy did not originally have          similarly barred.
the authority to file suit against First Union, and the Board’s
belated attempts to ratify that action fail as a matter of law.       First Telebanc has failed to create any genuine issue of
                                                                      material fact to defeat First Union’s assertion that this lawsuit
                                                                      was, and continues to be, unauthorized. Duffy has never had
D. Whether the second ratification by the Board of
                                                                      the authority to file this suit, and as a matter of law, the Board
Duffy’s actions creates retroactive authority for Duffy to
                                                                      may not now-ten years after the alleged breach of contract-
initiate this lawsuit
                                                                      ratify the action.
 *11 Following oral argument on First Union’s Motion for
Summary Judgment, First Telebanc filed with this Court
Duffy’s resignation from the board, along with a Resolution           E. Whether First Union has standing to assert Duffy’s
of the board of First Telebanc. In this Resolution, the Board         lack of authority
consists of three members, and does not include Duffy. This           First Telebanc claims that First Union’s motion for summary
new Board ratified Duffy’s action in filing the initial lawsuit       judgment must fail because First Union does not have
on June 5, 2002. First Telebanc appears to concede that its           standing to assert Duffy’s lack of authority. First Telebanc
earlier attempt at ratification failed on several bases, and          cites no legal authority in support of its position; it merely
attempts to cure those deficiencies with this new ratification.       makes the statement that “[a]lthough First Union clearly had
                                                                      a parochial interest in which faction ultimately was held


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                                                                    or controversy, the plaintiff must have legal authority to
to be in control of First Telebanc’s Board of Directors and
                                                                    initiate the action. Without such legal authority, the case is not
therefore this action, at no time did First Union have standing
                                                                    ripe for consideration. “The ripeness doctrine protects federal
to participate in the resolution of that dispute.” First Telebanc
                                                                    courts from engaging in speculation or wasting their resources
misses the point here. First Union did not participate in the
state court case in which the identity of the board of directors    through the review of potential or abstract disputes.” Id.
was at issue, and had no reason to. As First Union has agreed,      Independently, this Court may examine whether a plaintiff has
                                                                    standing, and whether, as a result, this Court has jurisdiction
its position as to the lack of authority for this case to go
                                                                    to hear a matter. It is the responsibility of the claimant to
forward has no bearing on who was, or is, a member of the
                                                                    substantiate, when the issue is raised, that it is a proper party
board of directors of First Telebanc. Because the undisputed
                                                                    to invoke judicial resolution of the dispute and the exercise of
evidence shows that Duffy initiated the lawsuit on his own,
and because he lacked the authority to act, the makeup of the       the court’s remedial powers. Elend v. Basham, 471 F.3d 1199
board at any time is simply irrelevant to First Union’s position    (11th Cir. 2006).
in its motion for summary judgment.
                                                                    In this case, Duffy had no corporate authority to file the
 *12 As to whether First Union has standing to question             lawsuit on behalf of the bank; he therefore had no standing
whether this lawsuit against it is proper, it is ludicrous to       to bring the action. Without standing, there is no case or
suggest it does not, A party has standing where it “has a           controversy as to the plaintiff. Upon independent review,
sufficient stake in the controversy, with a legally cognizable      therefore, I conclude that this case is not properly before this
interest which would be affected by the outcome of the              court, and cannot proceed.
litigation.” Accela, Inc. v. Sarasota Cty., 901 So. 2d 237, 238
(Fla. 2d DCA 2005). First Union clearly has an interest in
whether Duffy had the authority to file the lawsuit against                                 IV. Conclusion
it, just as any defendant has an interest in whether the suit
against it is properly brought. For the rule to be otherwise,       In light of all of the foregoing, summary judgment must
a plaintiff with no connection to another entity could file         be granted in favor of First Union. Viewing the all of the
lawsuits on its behalf, and the defendant would be forced to        undisputed facts in the light most favorable to First Telebanc,
defend a suit brought by an improper party. For example,            summary judgment must be entered for First Union as a
should a stranger to the corporation file suit against First        matter of law.
Union, alleging that First Union had harmed the corporation,
First Union would undeniably have standing to assert that           It is hereby ORDERED and ADJUDGED that:
the suit was improperly brought. See Bend v. Basham, 471
                                                                      1. First Union’s Motion for Summary Judgment [DE 35,
F.3d 1199 (11th Cir. 2006)(noting that among the prudential
                                                                         79] is GRANTED.
requirements for standing, a plaintiff cannot raise the rights
of third parties). Given the OCC’s decision that Duffy was            2. First Telebanc’s Complaint is DISMISSED.
prohibited from acting on behalf of the bank, a stranger to the
corporation would have the same authority to file suit against        3. This case is CLOSED.
First Union in this case as did Duffy.
                                                                      4. All pending motions are DENIED as moot.
First Telebanc misapprehends the standing issue. It is the
plaintiff who must demonstrate its standing to bring the            DONE AND ORDERED in chambers at Miami, Florida, this
subject action. The United States Constitution limits the           6th day of August, 2007.
jurisdiction of the Federal Courts by permitting them to
consider only disputes that rise to the level of being “cases”
                                                                    All Citations
or “controversies.” Hugh Johnson Enterprises, Inc. v. City
of Winter Park, Florida, 2007 WL 1047071 at *2 (Slip                Not Reported in Fed. Supp., 2007 WL 9702557
Copy)(11th Cir. 2007). In order for there to be a real case




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            Case
First Telebanc    3:17-cv-00101-RDM
               Corp.                           Document
                     v. First Union Corporation,            521-1
                                                 Not Reported         Filed (2007)
                                                              in Fed. Supp.  08/05/20          Page 33 of 33
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                                                       Footnotes


1     Florida's Fourth District Court of Appeals also found that Duffy was not a director at the time he initiated the
      lawsuit, as he had been removed from the board.
2     Notably, under the doctrine of the law of the case, while the trial court on remand from the Fourth District
      Court of Appeals could have made a determination as to the makeup of the board of directors, it could not
      determine that Duffy had authority to file the lawsuit, as the Fourth District Court of Appeals had definitively
      determined that Duffy had no authority to act on behalf of the bank. Engle v. Liggett Group, Inc., 945 So.
      2d 1246, 1266 (Fla. 2006)(“Law of the case ‘requires that questions of law actually decided on appeal must
      govern the case in the same court and the trial court, through all subsequent stages of the proceedings’ ”).
      Moreover, under that same doctrine, I could make a finding contrary to that of the Fourth District Court of
      Appeals only if the decision was “clearly erroneous and would work a manifest injustice.” Christianson v. Colt
      Indus. Operating Corp., 486 U.S. 800, 817 (U.S. 1988). Because I do not find that the Fourth District Court
      of Appeals' decision was clearly erroneous, under the law of the case I conclude that Duffy had no authority
      to act on behalf of the bank.
3     It is also worth note that while First Telebanc attempts to discard any findings made by the Fourth Circuit Court
      of Appeals as irrelevant, it attempts to rely upon a settlement agreement in a trial court case as legally binding.
4     This interpretation of “unlawful” is, however, a stretch. This is not a situation in which, for example, a director
      entered into a contract to purchase cocaine when he had no authority to act for the corporation. No board
      could ratify that action, as it is clearly an illegal act. In any event, the attempted ratification fails for the reasons
      discussed below.
5     Notably, the Resolution ratifying Duffy’s actions was executed on January 24, 2007, and was attached as
      an exhibit to First Telebanc’s Response in Opposition to First Union’s Supplemental Motion for Summary
      Judgment. In its Reply, First Union raised the argument that the attempted ratification was barred by the
      statute of limitations. First Telebanc did not request leave to file a sur-reply to address the statute of limitations
      argument, nor did it address the statute of limitations issue at oral argument.


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